 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 1 of 116 PageID #: 1




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

MIAMI INTERNATIONAL
HOLDINGS INC.; MIAMI
INTERNATIONAL SECURITIES
EXCHANGE, LLC; MIAX PEARL,
LLC; AND MIAMI INTERNATIONAL
TECHNOLOGIES LLC,

                   Plaintiffs,

       v.                                   Civil Action No.: ___________

NASDAQ, INC.; NASDAQ ISE, LLC;              (Filed Electronically)
AND FTEN, INC.,

                    Defendants.

              COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs Miami International Holdings, Inc. (“MIH”), Miami International

Securities Exchange, LLC (“MIAX Options”), MIAX PEARL, LLC (“MIAX

PEARL”), and Miami International Technologies, LLC (“MIAX Technology”)

(collectively, “MIAX” or “Plaintiffs”) bring this action against Defendants Nasdaq,

Inc., Nasdaq ISE LLC, and FTEN, Inc. (collectively, “Nasdaq” or “Defendants”)

and allege as follows:
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 2 of 116 PageID #: 2




                                 INTRODUCTION

                             “We’re coming after you.”

      1.     Those were the exact words spoken by Nasdaq’s then-Vice Chairman,

Meyer “Sandy” Frucher, in front of several witnesses during an options industry

conference in May 2015, where the superior performance of MIAX’s high-

performance electronic trading technology and its success in winning significant

market share from Nasdaq was receiving broad interest. Frucher followed up this

overt threat with “[e]njoy it while you can.”

      2.     This was not the only time a Nasdaq executive threatened to destroy

rival MIAX. In fact, there were multiple threats. At virtually every financial

exchange industry conference in 2015 and 2016 they both attended, Frucher

ambushed MIAX’s Chairman and CEO, Thomas Gallagher, to threaten, intimidate

and harass him.

      3.     Frucher had already guided Nasdaq’s multi-pronged strategy to

dominate the market for high performance electronic trading systems used by

financial exchanges, and to crush any rivals who threatened its position in the

market. And Nasdaq continued this strategy when on September 1, 2017, Nasdaq

sued MIAX, alleging patent infringement and misappropriation of trade secrets.

Nasdaq, Inc. et al. v. Miami International Holdings Inc., et al., United States District

Court for the District of New Jersey, No. 3:17-cv-06664 (“Nasdaq Lawsuit”).



                                         -2-
    Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 3 of 116 PageID #: 3




        4.    Nasdaq’s predatory intent in suing MIAX was transparent. Indeed,

“[w]hat is one to do when their monopoly power and cash cows are threatened?

Send in the lawyers that’s what! . . . . Sue Everybody!”1 was just one reaction in the

trading industry when Nasdaq filed its meritless intellectual property claims against

MIAX and, shortly thereafter, rival IEX Group.

        5.    Nasdaq’s baseless patent claims were predicated upon six Nasdaq

patents, each of which the Patent Trial & Appeal Board (“PTAB”) invalidated

following extensive proceedings. These claims, coupled with Nasdaq’s equally

frivolous trade secret misappropriation claims, are just a part of Nasdaq’s scheme to

foreclose MIAX and other competitors from the market.

        6.    Nasdaq’s intent in launching and maintaining sham litigation, and

implementing other elements of its predatory scheme, is to shield its dominant

market position from the threat posed by a nascent competitor: a competitor that

offers technology that is demonstrably and significantly superior, and can be

operated at a lower cost.

        7.    The fact that MIAX’s technology is vastly superior to Nasdaq’s is not

just MIAX’s opinion. It is an opinion shared by leading industry groups who have

consistently recognized the superiority of MIAX’s technology with award after


1
  “Nasdaq and IEX – Sue Everybody!” Themis Trading LLC, available at
https://blog.themistrading.com/2018/03/nasdaq-and-iex-sue-everybody/ (March 2,
2018).

                                        -3-
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 4 of 116 PageID #: 4




award, year after year. Those awards recognize that MIAX’s technology is the best

in the business. This view is also shared by numerous Nasdaq customers and

potential customers, who told Nasdaq that MIAX had set a new and higher bar in

product performance.

      8.     The superiority of MIAX’s technology was also recognized by the

largest and most influential financial services firms, including Bank of America

Merrill Lynch (BAML) and Morgan Stanley, who took equity interests in MIAX;

first in 2013, and then again in early 2015. As a result of MIAX’s stunning growth,

major international exchanges were interested in meeting with MIAX to discuss

licensing its technology.

      9.     Accordingly, by May 2015, when Sandy Frucher made his threat,

MIAX’s multiple industry awards, the substantial interest it was receiving from

potential customers, its substantial increase in exchange market share, and its

partnerships with leading financial services companies, made crystal clear to Nasdaq

that it faced a substantial competitive threat from MIAX: a threat that Nasdaq

decided needed to be dealt with by any means possible.

      10.    The baseless nature of Nasdaq’s September 2017 infringement claims

and its reason for filing them is evident not just by the fact that the PTAB has

invalidated every one of Nasdaq’s asserted patents (a total of over 100 claims in six

patents), but also by the fact that Nasdaq knew at the time it filed those claims that



                                        -4-
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 5 of 116 PageID #: 5




MIAX had independently developed, adopted and brought to market a host of

innovative technology solutions that rendered MIAX’s technology far superior to

Nasdaq’s.

      11.    Nasdaq knew that by filing its meritless lawsuit, and telling MIAX’s

potential customers that MIAX had “stolen” its technology, it would succeed in

chilling customers’ preference for MIAX’s products. Nasdaq was well aware that

merely by filing its claims – despite their lack of actual merit – the inevitable effect

would be that financial exchanges would not risk acquiring MIAX’s products.

      12.    It therefore is no coincidence that Nasdaq launched its spurious claims

just as MIAX was about to close a deal with a major customer; a customer that

Nasdaq competed to land and hoped to add to its lengthy list of clients. Nasdaq’s

success in deterring this and other customers from acquiring MIAX’s electronic

trading system technology through the filing of sham claims and other predatory

conduct is one reason that MIAX brings these antitrust claims.

      13.    But engaging in sham litigation and disparaging MIAX were just two

elements of Nasdaq’s anticompetitive strategy. That strategy began well before

Nasdaq filed the sham claims, when Nasdaq first tried to block MIAX (and,

ultimately, two other nascent competitors) from approval by the Securities and

Exchange Commission (“SEC”) as a registered securities exchange.




                                         -5-
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 6 of 116 PageID #: 6




      14.    Nasdaq also has executed a deliberate strategy of buying up trading

technology competitors, as well as suppliers of ancillary products. Now, armed with

the ability to offer “one-stop-shopping” to its financial market customers, Nasdaq

also succeeds in foreclosing MIAX and other companies from the market by offering

a discounted bundle of products used by financial exchanges for trading financial

instruments and related services. Nasdaq, by exploiting the high costs of switching

an electronic trading system once a customer has purchased and integrated a system

in its exchange, is then able to raise its prices for the ongoing services that it provides

to those locked-in customers.

      15.    Thus, armed with its fraudulent patents and the technology that it

acquired through myriad acquisitions, Nasdaq has enjoyed an ill-gotten, dominant

position in the high-performance electronic trading systems market for many years.

Its nearly decade-long predatory campaign to protect that position can be

summarized as follows:




                                           -6-
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 7 of 116 PageID #: 7




      16.    While Nasdaq has not succeeded in putting MIAX out of business, it

has already inflicted – and continues to inflict – substantial damage upon the market

and its customers by foreclosing MIAX and its superior trading system products and

technology from the market, and by imposing on customers extra costs that they

would not have incurred in a competitive market.




                                        -7-
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 8 of 116 PageID #: 8




      17.    MIAX’s claims seek to hold Nasdaq accountable for its bad faith

assertion of litigation against MIAX, for having engaged in fraud and other wrongful

acts, and for other predatory conduct that was intended to, and did, harm competition

and customers.

                                 THE PARTIES

      18.    Plaintiff MIH is a corporation organized under the laws of the State of

Delaware, with its principal place of business at 7 Roszel Rd., Suite 1A, Princeton,

New Jersey 08540.

      19.    Plaintiff MIAX Options is a limited liability company organized under

the laws of Delaware, with its principal place of business at 7 Roszel Rd., Suite 1A,

Princeton, New Jersey 08540 and a wholly owned subsidiary of MIH.

      20.    Plaintiff MIAX PEARL is a limited liability company organized under

the laws of Delaware, with its principal place of business at 7 Roszel Rd., Suite 1A,

Princeton, New Jersey 08540 and a wholly owned subsidiary of MIH.

      21.    Plaintiff MIAX Technology is a limited liability company organized

under the laws of Delaware, with its principal place of business at 7 Roszel Rd.,

Suite 1A, Princeton, New Jersey 08540 and a wholly owned subsidiary of MIH.

      22.    Upon information and belief, Nasdaq, Inc. is a corporation organized

and existing under the laws of the State of Delaware, with a corporate office at One

Liberty Plaza, 165 Broadway, New York, New York 10006.



                                        -8-
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 9 of 116 PageID #: 9




      23.    Upon information and belief, Nasdaq ISE, LLC is a limited liability

corporation organized and existing under the laws of the State of Delaware, having

its principal place of business at One Liberty Plaza, 165 Broadway, New York, New

York 10006. Nasdaq ISE, LLC is a wholly-owned subsidiary of Nasdaq Inc.

(through U.S. Exchange Holdings, Inc.).

      24.    Upon information and belief, FTEN, Inc. is a corporation organized and

existing under the laws of the State of Delaware, having its principal place of

business at One Liberty Plaza, 165 Broadway, New York, New York 10006. FTEN

is a wholly-owned subsidiary of Nasdaq Inc.

                   NATURE, JURISDICTION, AND VENUE

      25.    This action arises under the antitrust laws of the United States and the

State of New Jersey, particularly Section 2 of the Sherman Act (15 U.S.C. §§ 2),

Sections 3, 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, and the New Jersey

Antitrust Act (N.J. Stat. Ann. 56:9-1 et seq.).

      26.    This Court has subject matter jurisdiction with respect to the federal

law claims pursuant to 28 U.S.C. §§ 1331, 1337, and 1338. This Court has subject

matter jurisdiction with respect to the state law claims pursuant to 28 U.S.C.

§1367(a).

      27.    Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and

1391(c).



                                         -9-
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 10 of 116 PageID #: 10




      28.    Nasdaq is engaged in, and its activities substantially affect, interstate

trade and commerce. Upon information and belief, Nasdaq’s Second Quarter 2021

net revenues in the United States were over $800 million.

                          INDUSTRY BACKGROUND
                     Growth of the Electronic Trading Industry
      29.    All significant securities trading exchanges organized as physical

trading floors relied upon traders gathering on the floor of the exchange to buy and

sell securities. A “security” is a fungible, tradable financial instrument, such as an

equity (an ownership interest held by shareholders in a company), a derivative (an

instrument that derives its value from commodities or other security value), or an

option contract (a derivative security whose value depends on the value of an

underlying asset).

      30.    Floor trading for a particular security at an exchange, such as at the

London Stock Exchange or the New York Stock Exchange, historically took place

at assigned, fixed locations on the trading floor. Each assigned location is referred

to as a “pit” or a “post” depending on the exchange. Market participants gathered

around the pit or the post to buy and sell the particular security assigned to that

location. At the location, floor brokers or specialists would shout out or use hand

signals to communicate buy and sell orders in view of the market participants. This

frenetic, chaotic, and typically very loud activity is known as “open outcry.” The

matching and execution of security orders was done manually, typically following

                                        - 10 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 11 of 116 PageID #: 11




rules of price (almost always first), time, and volume priority. Below is a schematic

of the floor of an options exchange:




      31.    With the advent of computer-driven, electronic trading platforms

approximately fifty years ago, physical trading floors have been all but completely

replaced by electronic exchanges, which today can handle more trades faster, more

accurately, and less expensively than old fashioned trading on physical trading

floors. Electronic exchanges rely, at their core, upon an electronic trading system

that matches buyers with sellers for particular financial instruments, and then

executes those trades. These high-performance trading systems, in turn, have at their

core high-performance matching engines made up of processors containing one or



                                       - 11 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 12 of 116 PageID #: 12




more algorithms to match trades among competing bids and offers at the same price

and quantity of a particular financial security, such as an options contract, stock or

bond. Such matching engines handle the matching of bids and asks, and trade

execution that were handled in the pit (or at the post) shown in the above schematic.

      32.    A high-performance matching engine is, at its most basic, an “algorithm

that performs order matching according to a set of rules governing the priority of

submitted bids and offers.”2 The high-performance electronic trading system also

includes customer application programming interfaces to receive securities orders

and quotes from market participants, market data input from the options and equity

Securities Information Processors (SIPs) or other sources, and market data

dissemination modules.

      33.    Many market participants who trade on electronic exchanges demand

the speed and efficiency provided by high-performance electronic trading systems.

This is because timing is critical in trading securities, and such systems can handle

more transactions, and deter collusion and cheating. For example, the introduction

of high-performance electronic trading systems reduced the speed of trade execution

from minutes to seconds to milliseconds to nanoseconds.




2
 “A taxonomy of automated trade execution systems,” Journal of International
Money and Finance, 12, 607-631 at 614 (1993).

                                        - 12 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 13 of 116 PageID #: 13




      34.   It was, in fact, Instinet, which introduced the electronic trading platform

to the world in 1969.”3 The Instinet trading platform grew rapidly in the mid-1980s,

and by 1992, Instinet expanded internationally and was operating in over 20 world

markets and had grown revenues to approximately $100 million.4                 Instinet

dominated the market for electronic trading systems at that time.

      35.   In 2002, Instinet merged with Island, which had a uniquely fast (for the

time) matching engine providing customers with significantly faster transaction

speeds. After the merger, the platform was renamed INET.5 At the time, Instinet

sold a trade message routing system used by brokers, establishing a vast and ready

pipeline for selling Island’s trading platform. This merger of two rival electronic

exchange platforms, was reported to give Instinet “a leg-up to compete with the

Nasdaq Stock Market for order flow.”6

      36.   The sophisticated, high-performance electronic trading systems sold

today to exchanges are typically customized to meet the needs of the particular

exchange. However, high-performance electronic trading systems typically include



3
  “Agents of Change”, available at https://www.instinet.com/about.
4
  Instinet Corp., Enclyclopedia.com, available at
http://www.encyclopedia.com/books/politics-and-business-magazines/instinet-
corporation/.
5
  Erin Joyce. "Instinet Acquires Island ECN," internetnews.com, available at
https://www.internetnews.com/it-management/instinet-acquires-island-ecn/
(June 10, 2002).
6
  Id.

                                        - 13 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 14 of 116 PageID #: 14




at their core, matching engine technology, as well as several additional features that

are required for the system to function properly. A high-performance electronic

trading system today can schematically be represented as follows:




      37.    A Customer Interface provides a point of entry into the high-

performance electronic trading system for market makers. A market maker is

generally a firm who actively quotes a two-sided market in a security by providing

both bids to buy and offers to sell along with the market size for each. The high-

performance electronic trading system can also have a different point of entry for

order flow providers, such as by the FIX interface shown above. Order flow



                                        - 14 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 15 of 116 PageID #: 15




providers are typically third party trading firms who submit either proprietary

security orders or agency orders on behalf of their customers to the high-

performance electronic trading system for trade execution. Regardless of whether

the customer is a market maker or an order flow provider, and which interface is the

gateway into the high-performance electronic trading system, all securities orders

are routed to a high-performance matching engine.

      38.    At the core of the system, thus, is a high-speed matching engine with

the processor(s) containing the algorithm(s) that match bids and asks according to

the exchange’s execution rules. The other necessary functions closely associated

with the matching engine itself include (1) the customer interfaces for order and

quote input; (2) input and storage of current market data from, for example, a high

speed ticker; (3) dissemination of completed trades and other market information to

other applications, such as market data reporting, clearing trade and order drops,

back office drops for billing, reporting, and other functions; and (4) middleware,

which provides communication connectivity between different components or

applications of the system. The high-performance electronic trading system is

typically integrated with a back office system.

      39.    The back office system provides configuration inputs, such as system

configuration data, as well as reference data to the trading system. All orders and

trades are typically sent to the back office for storage and processing. The back



                                       - 15 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 16 of 116 PageID #: 16




office can also provide other functions that are not part of the high-performance

electronic trading system, such as billing, trade clearing, and regulatory compliance,

for example.

      40.      It is also possible for an exchange to purchase, along with the high-

performance trading system itself, analytical software/services, such as trading

simulation, and risk management software, from another supplier. But the above

graphic is reflective of a typical high-performance electronic trading system today,

along with the ancillary capabilities most closely associated with the matching

function (as opposed to other functions).

                       Nasdaq’s Entry and Role in the Market

      41.      In 2005, Nasdaq acquired Instinet for nearly $2 billion, establishing

itself as the dominant supplier of electronic trading systems worldwide.7

      42.      Also in 2005, Nasdaq embarked on a global financial market expansion

plan with an effort to purchase the London Stock Exchange in 2005. Although its

effort failed, it wound up with a 28% stake in LSE.

      43.      Then, in 2008, Nasdaq made another significant acquisition with its

$3.7 billion purchase of OMX AB, which operated the Nordic Exchange, which

resulted from the combination of several exchanges in the region. More importantly,


7
    “Nasdaq to Acquire Instinet in $1.9 Billion Deal”, available at
https://www.nytimes.com/2005/04/22/business/nasdaq-to-acquire-instinet-in-19-
billion-deal.html (April 22, 2005).

                                         - 16 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 17 of 116 PageID #: 17




OMX AB also provided trading technology to approximately 60 exchanges in 50

different countries at the time of purchase, dramatically expanding Nasdaq’s

customer base and geographic reach. Nasdaq also acquired the Boston Stock

exchange the same year, and the Philadelphia Stock Exchange (“PHLX”) a year

later.

         44.   The OMX AB acquisition was critical to Nasdaq’s efforts to continue

to grow its high-performance electronic trading system technology business, and to

fend off electronic trading system rivals, in part because just two years prior to

Nasdaq’s acquisition of OMX, OMX had purchased the market technology division

of Computershare. As a result of the OMX acquisition, Nasdaq had acquired control

of the world’s largest supplier of financial market technology products, as well as an

international footprint for its products.

         45.   Nasdaq followed this acquisition with the purchase of FTEN, a leading

provider of real-time risk management solutions, in 2010. This acquisition added

further to the technology solutions that Nasdaq was able to offer.

         46.   The same year, Nasdaq also purchased another technology company,

SMARTS, a provider of market surveillance systems.

         47.   Nasdaq also continued its expansion with purchases of businesses from

Thompson Reuters and GlobalNewswire. It also made a bold, but failed, attempt to

purchase the New York Stock Exchange in 2011.



                                            - 17 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 18 of 116 PageID #: 18




      48.    Then, beginning in 2016, Nasdaq launched a series of major

acquisitions with the goal of being able to dramatically expand and enhance its

technology and service offerings to exchanges and other customers. That year, it

purchased International Securities Exchange (“ISE”) for $1.1 billion. In addition to

operating three electronic options exchanges, ISE also further expanded the

technology and service offerings that Nasdaq was able to offer other exchanges.

Importantly, the purchase also gave Nasdaq an additional 20% stake in the Options

Clearing Corporation (the “OCC”), bringing its total ownership to 40%. As alleged

below, Nasdaq was soon able to leverage its stake in the OCC to further enhance its

dominant position in high-performance electronic trading systems.

      49.    Nasdaq then acquired Sybenetics in July, 2017. Sybenetics was a

leading provider of solutions to detect suspicious trading activity.      Nasdaq’s

surveillance products already accounted for over 12% of its revenue at the time of

purchase;

      50.    In December, 2018, Nasdaq purchased Quandl, a leading supplier of

financial data.

      51.    More recently, in 2019, Nasdaq acquired Cinnober, a global leading

provider of high-performance trading systems for exchange-traded markets. Nasdaq

touted at the time that “[t]his acquisition will enhance our ability to serve market




                                       - 18 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 19 of 116 PageID #: 19




infrastructure operators worldwide, and will accelerate our ability to expand into

new growth segments.”8

      52.    Finally, just last November, Nasdaq paid $2.75 billion for Verafin, a

leading supplier of anti-financial crime management products, used to detect

financial fraud, money-laundering, and other illegal and suspicious trading and other

financial activity.

      53.    As alleged below, Nasdaq has used the breadth of technology products

and services that it can now offer as a result of its serial acquisitions to further shield

its dominant position from competition.

      54.    Nasdaq’s predatory scheme to destroy its most significant competitive

threats is focused on non-U.S. exchanges which are typically smaller than U.S.

national exchanges like, for example, Chicago Board Options Exchange (CBOE)

and New York Stock Exchange (NYSE). Most non-US exchanges also typically

lack the expertise, capital and wherewithal to build their own trading technology that

has the high performance features demanded by market participants. That strategy

has paid off with both dramatic and continued growth of its high-performance

matching engine business, and by its continued ability to prevent its competitors

from threatening its dominant position.


8
 “Nasdaq to Acquire Cinnober”, Nasdaq, available at
https://www.nasdaq.com/about/press-center/nasdaq-acquire-cinnober (Sept. 14,
2018).

                                          - 19 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 20 of 116 PageID #: 20




      55.    Today, Nasdaq supplies high-performance electronic trading systems

and other technology to numerous financial exchanges, including the exchanges of

Hong Kong, Shanghai, Japan (Next), Singapore, Tokyo, Osaka, Indonesia,

Australia, New Zealand, Switzerland, Turkey, Iceland, Istanbul, Moscow, Athens,

Abu Dhabi, Bahrain, Saudi Arabia, Doha, Dubai, the Bahamas, Barbados, Egypt,

and Columbia, among many others.

                             MIAX and Other Competitors

      56.    MIAX entered the high-performance electronic trading system market

with a goal of developing the technologies required to be able to offer to customers

the best-available performance.

      57.    It accomplished this goal by hiring the best, most experienced experts

in the industry; by its willingness to allow them to innovate, develop, and test their

ideas; and by giving them the resources and time they needed to do so. MIAX also

benefited from its recognition that in the world of high-performance trading,

improvements measured in nanoseconds could result in very significant performance

gains for their customers.

      58.    Just by way of example, Nasdaq’s electronic trading systems are well-

known to result in occasional errors, sometimes resulting in trades that were never

intended. Such errors are costly for the trading parties, as well as for Nasdaq. MIAX

therefore set out to build a high-performance electronic trading system that would



                                        - 20 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 21 of 116 PageID #: 21




have high determinism, low latency and state of the art risk protections. MIAX in

fact built just such a trading system.

      59.       MIAX also set a course to develop a high-performance matching engine

that would be much faster than any engine yet available. MIAX accomplished this

goal as well.

      60.       MIAX’s plan was to provide market participants with a superior

exchange technology experience that included enhanced functionality, outstanding

performance, and high quality user experience and customer service, at lower costs.

MIAX achieved these goals by building and launching an innovative electronic

trading system that leveraged the power of the system’s architecture, added multiple

trading environments (“clouds”), while keeping the complexity in check and

increasing flexibility to reduce costs. By centralizing all core trading logic into a

performance tuned matching engine, the architectural complexity, time to market,

and resource costs are reduced.

      61.       MIAX ultimately entered the high-performance electronic trading

system market in 2012. It did so based on technology that is protected by U.S.

Patents 8,868,461 and 8,874,479.

      62.       MIAX’s award winning technology gives customers (1) the ability to

process 36 million messages per second (as opposed to the “up to five million




                                         - 21 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 22 of 116 PageID #: 22




messages per second” achieved by Nasdaq’s platform);9 (2) an average elapsed time

from receiving a market participant’s security order at the edge of the network to the

matching engine and an acknowledgement back to the edge of the network in just

19 microseconds on average; and (3) extraordinarily efficient and cost-effective

back-office systems that support the trading system and other operational functions

of an electronic exchange. Where other exchanges’ technology may require

hundreds of back-office personnel to operate, MIAX’s technology enables the back

office to be staffed by a few dozen employees, resulting in significant cost savings

for the exchange.

      63.    Thus, far from being a replica of Nasdaq’s technology, MIAX’s

technology has been consistently recognized by the industry as performing

substantially better than Nasdaq’s with respect to virtually every objective and

demonstrable measure, including with respect to:

      a.     Lower latency (total elapsed time between arrival of a security
             order/quote at the edge of the network to the matching engine and
             the acknowledgement back to the edge of the network: the key
             measure for trading matching speed);

      b.     Greater throughput (number of transactions processed in a period
             of time);

      c.     Accuracy and quality of trade executions; and




9
  Nasdaq Complaint ¶ 23 (Dkt. No. 1) (discussing capacity and speed supporting
processing up to five million messages per second).

                                        - 22 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 23 of 116 PageID #: 23




      d.     Determinism (percent of time the customer’s order arrives at the
             matching engine in the order received at the edge of the trading
             system network).

      64.    MIAX is also highly recognized for being the industry leader in the

development of risk controls and purge port protection, as well as for its proprietary

testing system, its scalable architecture, and unparalleled help desk.

      65.    Accordingly, MIAX has been consistently recognized by industry and

business leaders for its superior technology and performance of its trading system.

Those recognitions and awards, for which Nasdaq was also considered, include:

      a.     2015, 2016 and 2018 Best Infrastructure/Technology Initiative by
             the Wall Street Letter. The award is given by Fund Intelligence, the
             leading reporting and intelligence organization servicing fund
             managers and others in the financial trading community;

      b.     2017 Best Overall Exchange at the Fund Technology and WSL
             (Wall Street Letter) Awards; and

      c.     2019, 2020 and 2021 Most Innovative Exchange Technology at the
             Fund Technology and WSL Awards.

      66.    By early 2015, once the superior performance of MIAX’s technology

was known to the market, MIAX closed its second Equity Rights Program (ERP)

with the addition of seven leading financial firms taking an equity interest. For the

first time, the MIAX ERP included Citadel Securities (“Citadel”). Citadel is a

leading global trading firm that was instrumental in the ERP on the PHLX years

before, when Frucher was the Chairman and CEO of PHLX.            Frucher knew how




                                        - 23 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 24 of 116 PageID #: 24




influential these strategic partnerships are to an exchange, especially when Citadel

was so instrumental in the sale of PHLX to Nasdaq for over $650 million in 2008.

         67.   MIAX was not going away. Nasdaq realized that its failure to block

MIAX out of the gates at the SEC in 2012 had given rise to a fierce competitive

threat: one that would force it either to compete, and succeed, on the merits by

building better products that would offer customers better performance and lower

operating costs, or alternatively, find another way to try to foreclose MIAX from the

market.

         68.   Nasdaq chose the latter strategy. It was at this time, during the March

2015 FIA Conference, that Nasdaq Vice Chairman Sandy Frucher first unleashed

his fury at having to compete on the merits against MIAX, MIAX had received

accolades about its technology and its recently announced market share figures

showing that its options trading market share had grown significantly (over 7% and

doubled its March 2014 volume by March 2015).             Frucher ambushed MIAX

Chairman and CEO Thomas Gallagher at the check-in and registration line and, in

front of other witnesses threatened: “Enjoy it while you can. We’re going to end

this.”

         69.   Frucher wasn’t done. Two months later, he again threatened Thomas

Gallagher, this time at the May, 2015 Options Industry Council conference, bullying,

“We’re coming for you – enjoy it while you can.”



                                         - 24 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 25 of 116 PageID #: 25




      70.     Next, just one month later, at an industry conference dinner, organized

by Sandler O’Neill & Partners, Frucher, still apparently seething over MIAX’s

success in winning market share from Nasdaq, again tried to intimidate Thomas

Gallagher by stating: “Don’t get too comfortable. We’re coming after you, and your

employees.”

      71.     Nasdaq continued to make clear that it was on a mission to put MIAX

out of business. One year later, at the 2016 Options Industry Council conference,

Nasdaq senior executive, Tom Wittman, warned MIAX’s Executive Vice President

that Nasdaq had a “nuclear weapon” that it intended to unleash on MIAX. He did

not explain at the time what that was, but it is now plain that Nasdaq’s nuclear arsenal

would include meritless litigation based on invalid patents and dubious trade secret

claims.

                            Financial Exchanges Today

      72.     There are today numerous exchanges used to trade a wide range of

securities, including equities, bonds, options and other derivatives, as well as

currencies (including government-issued official currencies and both official and

non-official cryptocurrencies), and other financial instruments. With very few

exceptions, those exchanges rely upon some form of an algorithm-based, electronic

trading system to match buyers and sellers of those instruments.




                                         - 25 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 26 of 116 PageID #: 26




      73.    Many of those exchanges are the “national exchanges” or “bourses” of

their respective countries. The website of the World Federation of Exchanges, an

industry group comprised of financial exchanges, lists among its members and

affiliates a long list of national exchanges, both large and small, including for

example, national exchanges of Abu Dhabi, Australia, Bermuda, Istanbul, Kuwait,

Dubai, Egypt, Hong Kong, Indonesia, Kazakhstan, Korea, Qatar, Thailand,

Botswana, Ghana, Muscat, Namibia, Nepal, and others.

      74.    There are also myriad other exchanges, including, for example, the New

York Stock Exchange, Chicago Board of Options Exchange, Chicago Mercantile

Exchange, Nasdaq, their affiliated exchanges, and many others.

      75.    Exchanges are used by firms such as Morgan Stanley, Merrill Lynch,

Goldman Sachs and others, to trade securities on behalf of their own accounts or on

behalf of their customers. It was MIAX’s application with the SEC to be approved

as a registered national exchange – as well as IEX’s and MEMX’s applications –

that Nasdaq sought to block because they would be competing against Nasdaq for

this business.

      76.    The vast majority of financial exchanges are subject to regulation by

their home countries. In the United States, for example, financial exchanges are

subject to regulatory oversight by the SEC or by the Commodity Futures Trading

Commission, depending on the financial instrument traded.        These regulatory



                                      - 26 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 27 of 116 PageID #: 27




agencies are typically focused on the exchange’s orderly operation, operational

integrity, and fairness (lack of bias), and other considerations.

      77.    Regardless of the size of the exchange or the nature of the instrument(s)

they trade, one thing that every exchange has in common is that when it purchases a

high-performance trading system, that system must be integrated with

communications, data, security, and other systems operated by the exchange. This

typically requires at least some degree of customization. In the case of very high

volume, high-speed exchanges, the development and integration of an electronic

system typically requires a very high degree of customization. This process is costly

and complex, and can take many months to accomplish. Changing an electronic

trading system also requires customers to spend time and money converting to a new

system, adding another disincentive to switching systems.

      78.    Accordingly, the cost of switching from one high-performance

electronic trading system to another is very high. Thus, exchanges are generally

extremely cautious when making a high-performance electronic trading system

purchasing decision because the political and operational consequences of having to

change systems prior to the end of the useful life of the system is typically very high.




                                         - 27 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 28 of 116 PageID #: 28




            NASDAQ’S PREDATORY SCHEME AND CONDUCT10

                                 Exchange No. 1

      79.    In March 2016, MIAX and delegates of Exchange No. 1, initiated

discussions for MIAX to supply Exchange No. 1 with MIAX’s high-performance

electronic trading system technology. MIAX and Exchange No. 1 met throughout

2016. These meetings continued in January, 2017 when MIAX’s CEO Thomas

Gallagher met with the Chairman of Exchange No. 1 to further discuss MIAX’s

trading system technology. Following that meeting, a broader MIAX team and

Exchange No. 1’s team continued to meet through 2017 at Exchange No. 1’s home

country, in New York City, and at MIAX’s locations in Miami and Princeton. These

negotiations culminated with critical meetings from August 29 to September 1,

2017, when MIAX met with the top executives of Exchange No. 1, led by Exchange

No. 1’s Chief Information Officer and Chief Executive Officer. The Exchange No.

1 team also included its technical team who vetted MIAX’s technology for

solidifying the deal. But, just as the MIAX/ Exchange No. 1 deal was about to close,

Nasdaq, who upon information and belief, learned about the imminent MIAX-

Exchange No. 1 transaction through Exchange No. 1’s former CIO, filed the sham




10
  Due to the confidentiality of MIAX business information in this section, MIAX
has used generic names of the exchanges, e.g., Exchange 1 through Exchange 6
and refers to individuals at the Exchanges by title only.

                                       - 28 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 29 of 116 PageID #: 29




lawsuit     against   MIAX    alleging    patent   infringement   and   trade   secret

misappropriation.

      80.     The Nasdaq Lawsuit made headline news in the trading industry. On

September 2, 2017, Bloomberg published its headline “Nasdaq sues rival exchange

Miami International, alleging stolen tech secrets.”11 Bloomberg was followed by

other media publishing similar characterizations of the lawsuit.12

      81.     The filing of the lawsuit against MIAX had the chilling effect Nasdaq

intended. Exchange No. 1 expressed concern about the allegations that MIAX was

using Nasdaq’s technology. MIAX lost this market opportunity. Had MIAX closed

the transaction with Exchange No. 1, MIAX would have received millions of dollars

for the contract plus yearly royalties.

                                   Exchange No. 2

      82.     Exchange No. 1 was not MIAX’s only lost opportunity. In 2016, MIAX

also met with the CIO and CEO of Exchange No. 2 to discuss MIAX supplying


11
   “Nasdaq Sues Rival Exchange, Alleging Stolen Tech Secrets”, Bloomberg,
available at https://www.bloombergquint.com/markets/nasdaq-sues-exchange-
rival-alleging-tech-secrets-were-stolen (Sept. 1, 2017).
12
   “Nasdaq sues rival exchange Miami International, alleging stolen tech secrets”,
Mint, available at
https://www.livemint.com/Money/0IgBX2X0NQW9YABQAPdEqJ/Nasdaq-sues-
rival-exchange-Miami-International-alleging-sto.html (Sept. 2, 2017); see also
“Nasdaq sues rival exchange operator over stolen tech secrets”, Inshorts, available
at https://inshorts.com/en/news/nasdaq-sues-rival-exchange-operator-over-stolen-
tech-secrets-1504436016768 (Sept. 3, 2017).


                                          - 29 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 30 of 116 PageID #: 30




Exchange No. 2 with its technology. As with Exchange No. 1, MIAX and Exchange

No. 2 had extensive meetings in Princeton with executives and a technical team from

Exchange No. 2 in 2017 to further explore this opportunity. When Exchange No. 2

learned of the Nasdaq Lawsuit, it ended all discussions.       An executive from

Exchange No. 2 stated that he could not seek approval from its Board of Directors

to acquire MIAX technology in view of Nasdaq’s allegation that MIAX is

wrongfully using Nasdaq’s technology. Had MIAX not been prevented from closing

the transaction with Exchange No. 2, Exchange No. 2 would have paid MIAX

millions of dollars for the contract plus yearly royalties.

                         Nasdaq Branded MIAX As Thieves

      83.    Nasdaq compounded damage to MIAX by branding them as thieves

attempting to sell stolen goods. Upon information and belief, Nasdaq told MIAX’s

potential and existing customers at various industry events in New York City,

Washington, D.C., and Chicago, not to do business with MIAX because MIAX had

stolen Nasdaq’s technology.

      84.    MIAX continued to lose bid after bid on its award-winning technology

as a result of Nasdaq’s conduct claiming MIAX had stolen its technology to potential

customers when Nasdaq itself was trying to land the technology sale. For example,

MIAX had progressed to advanced discussions with Exchange No. 3, Exchange No.

4, Exchange No. 5, and Exchange No. 6, but Nasdaq’s lies damaged MIAX’s



                                         - 30 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 31 of 116 PageID #: 31




reputation in the marketplace as a supplier of high-performance electronic trading

systems technology, which business never took flight due to Nasdaq’s illegal

interference.

       NASDAQ’S PATENTS WERE OBTAINED THROUGH FRAUD

                           Nasdaq Withheld Highly Relevant
                            Information From The USPTO

      85.       Prior to its predatory acquisition of Instinet, Nasdaq had lost substantial

trading share to competitor exchanges and electronic communications networks

(“ECN”), such as Instinet and Island. These platforms provided market participants

with high-speed trading and related functionality that could process high volumes of

trades in short order.

      86.       In response to this threat, Nasdaq, at first, sought to build a better and

more competitive trading platform by collaborating with Bill Lupien’s company,

OptiMark in 1998.13 Years before this collaboration, Lupien, together with Dr. John

T. Rickard, had designed and developed an electronic trading system, (the OPTI-mal

MARK-et abbreviated as OptiMark), that had a platform composed of many high

performance processors to match securities orders. This feature enabled the

OptiMark System to process trades in parallel by having multiple securities


13
  “Nasdaq Plans to Get OptiMark System In Summer of 1999”, The Wall Street
Journal, available at https://advance.lexis.com/document/index?crid=d1cbde0e-
e646-4f88-bcb9-6fdfb207c51b&pdpermalink=31cdd382-4198-4dc7-a51d-
0f25b4c71240&pdmfid=1000516&pdisurlapi=true (Sept. 10, 1998).

                                           - 31 -
 Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 32 of 116 PageID #: 32




 processors or matching engines. Before that, Lupien was the Chairman and CEO of

 Instinet, and has been attributed with Instinet’s success in the marketplace.

       87.    Upon information and belief, Nasdaq also collaborated with contractors

from Accenture. Accenture was known to Nasdaq as having worked on the London

Stock Exchange (“LSE”) trading platforms, and specifically its messaging

architecture. Upon information and belief, at the time LSE was a top competitor of

Nasdaq.

       88.    In 1998, Nasdaq’s parent company, National Association of Securities

Dealers, Inc. (“NASD”) touted OptiMark’s advanced trading technology:

       The OptiMark system is an electronic equity trading process that offers
       traders and investors a “third dimension” to their trading criteria . . . .
       Using powerful supercomputers and patented algorithms, the
       OptiMark system matches profiles of buying and selling desires in a
       manner that maximizes the mutual satisfaction of all buy and sell
       interests. . . . OptiMark was developed by experts in electronic trading
       after extensive consultation with institutional investors, brokers, and
       stock markets.14

       89.    Nasdaq, therefore, had actual knowledge of the technology underlying

the OptiMark electronic trading system.




14
  “NASD Announces Final Agreement With OptiMark Technologies”, Nasdaq,
available at https://advance.lexis.com/api/permalink/c6f85cec-6565-4d0a-a811-
8c8ec9c52dad/?context=1000516 (Sept. 9, 1998) (emphasis added).

                                         - 32 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 33 of 116 PageID #: 33




      90.   Nasdaq was so impressed with OptiMark’s technology that the

Chairman and CEO of the NASD, Frank G. Zarb, reported a plan to integrate

OptiMark technology into Nasdaq:

      The agreement to integrate OptiMark technology into Nasdaq is part
      of an ongoing effort to offer investors and the trading community
      increased access to the market through innovative technology.15

      91.   In September 1999, the SEC approved Nasdaq’s request to integrate the

OptiMark technology and by October 1999, Nasdaq integrated it into the Nasdaq

exchange.

      92.   Then in 2000, Nasdaq and OptiMark entered into a multi-million dollar

services agreement under which OptiMark provided advanced software

development services in connection with a collaboration to develop Nasdaq’s

“SuperMontage” trading system:

      In October 2000, Nasdaq entered into a contract with OptiMark under
      which OptiMark was engaged to provide software development
      services in connection with the development of the SuperMontage
      system. Nasdaq will pay OptiMark for the SuperMontage development
      for a period not to exceed twelve months. Additionally, OptiMark will
      be entitled to receive incentive payments if it meets certain delivery
      milestones agreed to in the contract. If Nasdaq uses OptiMark's services
      for the full twelve months of expected development effort and
      OptiMark meets all of its deliverables, then Nasdaq will be required to
      pay up to $14.2 million.16


15
  Id. (emphasis added).
16
  “Form 10 General Form For Registration of Securities Pursuant To Section 12(b)
or 12(g) Of the Securities Exchange Act of 1934”, The Nasdaq Stock Market, Inc.,
available at

                                       - 33 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 34 of 116 PageID #: 34




      93.    “SuperMontage” was “[Nasdaq’s] aggressive bid to lure back some of

the trading business it lost out to Island and Instinet”.17

      94.    OptiMark purportedly offered “expertise in matching and multi-

attribute trading technology to deliver unmatched value in terms of improved

efficiencies.”18

      95.    “[Nasdaq and OptiMark] have collaborated to incorporate OptiMark’s

securities processing capabilities as well as its performance monitoring and testing

technology into advanced capabilities utilizing the company’s multi-attribute

matching technology for various insurance marketplaces.”19

      96.    The SuperMontage, like the OptiMark System (and as would be

expected) improved trade execution speed and order fill rates.20



https://www.sec.gov/Archives/edgar/data/1120193/000095017201500107/0000950
172-01-500107.txt (April 30, 2001); see also “OptiMark Agrees To Supply
Expertise To Nasdaq Market”, The Wall Street Journal, IpStaff, G., available
at https://www.wsj.com/articles/SB971127526876875147 (Oct. 10, 2000).
17
    Erin Joyce. "Instinet Acquires Island ECN," internetnews.com, available at
https://www.internetnews.com/it-management/instinet-acquires-island-ecn/ (June
10, 2002).
18
   “NASD Announces Final Agreement With OptiMark Technologies”, Nasdaq,
available at https://advance.lexis.com/api/permalink/c6f85cec-6565-4d0a-a811-
8c8ec9c52dad/?context=1000516 (Sept. 9, 1998).
19
   “OptiMark To Help Businesses Reduce Costs By Building Custom
‘Exchanges’”, available at
https://www.sec.gov/Archives/edgar/data/1062023/000095012301504303/y51455e
x19-1.txt (July 11, 2001).
20
   “Supermontage as a New Trading System of Nasdaq”, Investment Management
and        Financial     Innovations,     Tseng,     K.C.,      available    at

                                         - 34 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 35 of 116 PageID #: 35




      97.   Meanwhile, during the collaboration, upon information and belief, the

Accenture contractors contributed the idea of storing the order book in the memory

of the matching engine. The order book stored unfulfilled security orders for later

matching.

      98.   The collaborations with OptiMark and Accenture led to Nasdaq’s filing

of two U.S. provisional patent applications in 2002.

      99.   On June 5, 2002, Nasdaq filed, through its prosecution attorney Denis

Maloney, U.S. Provisional Patent Application No. 60/385,979, entitled

“SuperMontage Architecture” (“SuperMontage Provisional”).

      100. Also on June 5, 2002, Nasdaq filed, through its same prosecution

attorney, U.S. Provisional Patent Application No. 60/685,988, entitled “Security

Processor” (“Security Processor Provisional”). These applications are referred to

collectively as the “June 2002 Provisionals.”

      101. According to USPTO records, the inventors listed for the

SuperMontage Provisional are: James Richmann, Daniel Moore, Stuart Serkin, Tim

Vincent, Peter Martyn, Mark DeNat and Jack Hughes.21 The inventors listed for the

Security Processor Provisional are: Daniel Moore, Stuart Serkin, Tim Vincent, Jack



https://www.businessperspectives.org/index.php/journals?controller=pdfview&task
=download&item_id=1239 (Aug. 31, 2005).
21
    Public Patent Application Information Retrieval (PAIR), available at
https://portal.uspto.gov/pair/PublicPair.

                                       - 35 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 36 of 116 PageID #: 36




Hughes and Fred Stiening.22 No OptiMark nor Accenture contractors were named

as inventors.

           102. The SuperMontage Provisional describes and claims the concept of a

trading platform having one or more securities processors to which an order for a

security would be routed and processed. When two or more securities processors

are employed, each one may be assigned to process only certain securities. The

assignments of certain securities to a particular securities processor are indexed and

stored in a lookup table. The concept of employing multiple securities processors to

process trades was not new or inventive at the time. Nor was using a lookup table

to store assigned processors to certain securities. In fact, such features were

fundamental to any electronic trading system, including the OptiMark System, and

Nasdaq knew it. Moreover, the claimed features reflected contributions of the

OptiMark and Accenture contractors, not contributions by Nasdaq.

           103. The Security Processor Provisional contains similar subject matter as

the SuperMontage Provisional. It describes and claims the concept of multiple

securities processors assigned to particular securities, but also describes matching

bids and asks for a security to complete a trade. This represents another fundamental

concept that was not new or inventive, and was part of the OptiMark System and

upon information and belief, the LSE Platform as well.


22
     Id.

                                          - 36 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 37 of 116 PageID #: 37




         104. The June 2002 Provisionals led to the filing of two non-provisional

patent applications, which later issued as two of the patents asserted in this lawsuit.

         105. On July 25, 2002, Nasdaq filed, through prosecution attorney Denis

Maloney, U.S. Patent Application No. 10/206,148 (“’148 Application”), which led

to the issuance of U.S. Patent No. 7,921,051 (“’051 Patent”), which issued on April

5, 2011. The ’148 Application claimed priority to the June 2002 Provisional

Applications.

         106. The ’051 Patent describes and claims using a lookup table to route

security orders to specific processors assigned to that particular security. The patent

also describes that orders are queued for processing. Once queued, orders wait in

line to be processed by a matching process in the processor. When available, the

matching process retrieves the order for processing. The patent illustrates this

concept: “[a]s an example, order may pertain to one-hundred shares of XYZ Corp.

that Market Participant A wishes to purchase for $17.00 per share. This order, which

represents a bid-to-buy XYZ Corp. is entered into an order book for a particular

securities processor for subsequent matching with a corresponding offer-to-sell

XYZ Corp.”23 “. . . if the highest bid (hereinafter buy) is lower than the lowest offer




23
     U.S. Patent 7,921,051 at 6:6-16.

                                        - 37 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 38 of 116 PageID #: 38




(hereinafter sell), the security will not be traded and these pending bids and offers

will remain on the security order book.”24

         107. The inventors listed on the ’051 Patent are: Stuart Richard Serkin,

Timothy Vincent, and two other Nasdaq personnel, who were not listed on either of

the June 2002 Provisional Applications, Robert Miller and Edward A. Perrault

(“Serkin et al.). Again, no one from OptiMark or Accenture was listed as an inventor

on the ’051 Patent. Also missing from this list of inventors is Fred Stiening,

Nasdaq’s then-Director of Software Design.

         108. On information and belief, Mr. Stiening had actual knowledge that the

subject matter in the June 2002 Provisionals and the related ’051 Patent did not

originate with Nasdaq.

         109. Also on July 25, 2002, Nasdaq filed, through its prosecution attorney

Denis Maloney, U.S. Patent Application No. 10/206,892 (“’892 Application”),

which issued as U.S. Patent No. 7,933,827 (“’827 Patent”) on April 26, 2011. The

’827 Patent claims priority to the June 2002 Provisional Applications.

         110. The ’827 Patent is similar to the ’051 Patent, and also describes a

system having multiple securities processors assigned to certain securities and a look

up table. It further describes that the securities processors include a matching

process. The patent states: “[t]he matching process includes an order book . . . for


24
     Id., 6:17-28.

                                        - 38 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 39 of 116 PageID #: 39




storing the validated attributable security interest messages obtained from the

matching queue. This order book is maintained on a main memory device and is

exclusively accessible by the order management process.”25

         111. The inventors listed on the ’827 Patent are: James N. Richmann, Daniel

F. Moore, John T. Hughes Jr. Stuart Serkin, Timothy Vincent, Peter J. Martyn and

Mark DeNat. Again, no OptiMark or Accenture inventor is named. Neither is Mr.

Stiening, even though Mr. Stiening was named on the Security Processor

Provisional.

         112. Related to both the ’051 and ’827 Patents is U.S. Patent No. 7,895,112

(“’112 Patent”), which issued from U.S. Patent Application No. 10/206,316 (“’316

Application”). The ’051, ’827 and ’112 Patents are siblings because they each claim

priority back to the same June 2002 Provisionals.

         113. As with the ’827 and ’051 Patents, the ’112 Patent also describes an

electronic trading system. In fact, some parts of the specifications in each of these

patents are the same. Among other similarities, the ’112 Patent describes a system

having multiple securities processors that can be assigned to certain securities to

distribute the volume of securities trading over a number of securities processors.26

The ’112 Patent also describes an order book that resides in memory of the securities



25
     U.S. Patent 7,933,827 at 2:10-14.
26
     U.S. Patent 7,895,112 at e.g., 2:22-3:19, 3:35-50.

                                          - 39 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 40 of 116 PageID #: 40




processors and that “[a] matching process [] matches portions of the received order,

i.e., executes and allocates the received orders and stores the unmatched portion of

the order stored in the order book.”27

      114. The inventors listed on the ’112 Patent are: James N. Richmann, Stuart

Serkin, Timothy Vincent, John T. Hughes, Jr.,28 Daniel F. Moore, and Fred Stiening.

This inventorship overlaps with the inventors listed on both the ’051 and ’827

Patents, and the June 2002 Provisionals.

      115. Nasdaq used the same principal prosecuting attorney Denis Maloney

and his colleagues to prepare and prosecute these applications before the USPTO,

and that prosecution resulted in the ’051, ’827 and ’112 Patents.

                                The Inventors Oath

      116. During the prosecution of the ’112 Patent, which was simultaneous

with the prosecution of the ’051 and ’827 Patents, Mr. Stiening refused to sign a

Declaration and Power of Attorney (“Declaration”) in connection with the ‘112

Patent.29

      117. The Declaration, also called an inventor’s oath, is a sworn statement in

which the inventor is required to swear to be the first and original inventor of the


27
   Id. at 3:52-62.
28
   Upon information and belief, John T. Hughes Jr. of Stamford CT listed as an
inventor on the ’112 Patent is the same person as Jack Hughes of Stamford CT listed
as an inventor on the ‘051 and ’827 Patents.
29
   ’112 Patent, File Wrapper, 2/19/2003 Petition Entered.

                                         - 40 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 41 of 116 PageID #: 41




subject matter sought in a patent. 35 C.F.R. § 1.63(a). The inventor also must

acknowledge its duty to disclose to the USPTO all information known to the inventor

to be material to patentability. Id. at (c).

         118. On information and belief, Mr. Stiening refused to sign the Declaration

because he had actual knowledge that he was not the first and original inventor and

that the OptiMark System was material prior art. And Mr. Stiening told this to

Nasdaq’s prosecuting attorneys.

         OptiMark . . . publish[ed] other truly original documents of their own,
         proposing a similar architecture based on their prior art of a system that
         they were running in Jersey City . . . . Those documents that were
         made available to all of the design team (including non–Nasdaq
         participants), and also might be considered relevant prior art . . . . I
         have knowledge that the documents existed and were distributed, but
         as an ex-employee I did not retain any of that type of documentation.
         Jim Richman and others should have copies.30

         119. Mr. Stiening also acknowledged that the LSE Platform was prior art.

         Accenture probably might also oppose these applications as their
         prior involvement with the London Stock Exchange and Eurex trading
         systems (and others) brought their significant experience with using
         a memory based order book based electronic trading system to the
         project team. The use of a memory book was a significant point of
         disagreement within the project team (Stu Serkin being the primacy
         opponent), and

         Accenture’s real life experience implementing similar trading system
         architectures was a significant factor in management alternately
         shifting the direction of the design to rely on a memory-based order




30
     Id., App’x A at 4 (emphasis added).

                                           - 41 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 42 of 116 PageID #: 42




         book. I doubt that they are so brash as to assert having creat[ed] the
         concept of a memory based order book themselves, though.31

         120. Through their collaboration, Mr. Stiening, and the rest of the “design

team,” including James Richmann and Stuart Serkin, had actual knowledge of the

prior electronic trading systems, including OptiMark System and LSE Platform.

         121. Significantly, USPTO guidelines specifically state that information

material to patentability may include information learned from “co-workers, trade

shows, communications from or with competitors, potential infringers, or other third

parties.” MPEP § 2001.06.

         122. Upon information and belief, Richmann et al. and Serkin et al. had

actual knowledge, as did Mr. Stiening, that non-Nasdaq employees contributed “key

ideas” and had not been named as inventors, while Nasdaq employees who had not

contributed to the claimed inventions had been improperly named as inventors.

         At least on the applications I’ve seen so far, there is no mention of any
         Accenture person and they played a role in formulating and
         benchmarking many of the key ideas, yet people who joined the
         project a year after the publication of the high level design document
         that became the core of these patent applications were not only not
         involved, but actively working against the efforts at the time — now
         are listed as co-inventors.32

         123. During the OptiMark-Nasdaq-Accenture collaboration, Serkin et al.

and Richmann et al. received OptiMark System documentation and were aware of


31
     Id. at 4-5 (emphasis added).
32
     Id. at 5 (emphasis added).

                                          - 42 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 43 of 116 PageID #: 43




Nasdaq’s integration of OptiMark technology beginning in and around 1998.

Accordingly, Serkin et al. and Richmann et al., had actual knowledge of the

technology underlying the OptiMark System, and further that such technology

included, on information and belief, among other features, an electronic trading

system with many securities processors and a lookup table for routing securities to

those processors.

      124. Serkin et al. and Richmann et al. had actual knowledge of who

contributed and who did not contribute to the conception of the alleged inventions

of the ’051 and ’827 Patents, respectively, as well as the prior June 2002 Provisional

Applications.

      125. Under false and fraudulent pretense, Serkin et al. and Richmann et al.,

each signed a sworn oath declaring that each was the original and first inventors of

the subject matter claimed in the ’051 and ’827 Patents, when Nasdaq and each

inventor had actual knowledge that Serkin et al. and Richmann et al. were not, in

fact, the original and first inventors of the subject matter claimed in the ’051 and

’827 Patents. In addition, they failed to disclose material information, i.e., the

OptiMark system, about the patentability of the subject matter sought in the patent

applications leading to the issuance of the ’051 and ’827 Patents.




                                        - 43 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 44 of 116 PageID #: 44




      126. Nasdaq had actual knowledge that the OptiMark System implemented

subject matter that Serkin et al. and Richmann et al. later alleged to be their

“inventions” in the ’051 and ’827 Patents, respectively.

      127. The ’051 Patent was set to expire on April 27, 2015; however, on or

about October 6, 2014 using the mails or instrumentalities of interstate commerce,

Nasdaq caused a “maintenance fee” to be paid to the USPTO for the purpose and

effect of maintaining the ’051 Patent under false and fraudulent pretense that Serkin

et al. were the original and first inventors of the subject matter claimed in the ’051

Patent, when Nasdaq had actual knowledge that Serkin et al. were not in fact the

original and first inventors of the subject matter claimed in the ’051 Patent.

      128. The ’827 Patent was set to expire on April 27, 2015; however, on or

about October 6, 2014 using the mails or instrumentalities of interstate commerce,

Nasdaq caused a “maintenance fee” to be paid to the USPTO for the purpose and

effect of maintaining the ’827 Patent under false and fraudulent pretense that

Richmann et al. were the original and first inventors of the subject matter claimed

in the ’827 Patent, when Nasdaq had actual knowledge that Richmann et al. were

not in fact the original and first inventors of the subject matter claimed in the ’827

Patent.

      129. The OptiMark System is prior art to the ’051 and ’827 Patents under at

least 35 U.S.C. § 102(a) and 102(b). The first trade of listed equities on the



                                        - 44 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 45 of 116 PageID #: 45




OptiMark System occurred on the California-based Pacific Exchange by no later

than January 1999, more than three years before Nasdaq filed the June 2002

Provisional Applications. Accordingly, the OptiMark System was known and used

by others in the United States, and in public use in the United States, more than one

year prior to the filing date of the June 2002 Provisional Applications.

      130. Despite their actual knowledge that the OptiMark System and the LSE

Platform were material prior art, Nasdaq, Richmann et al. and Serkin et al., and its

prosecuting attorney, concealed the OptiMark System and the LSE Platform from

the USPTO by not disclosing it in an Information Disclosure Statement (“IDS”) or

otherwise bringing Mr. Stiening’s emails to the attention of the Examiners of the

’051 and ’827 Patents.

      131. Any reasonable examiner would have considered these prior art

systems critical to the patentability of the claims that issued in the ’051 and ’087

Patents and would have rejected the claims Nasdaq later asserted against MIAX.

      132. “Each individual associated with the filing and prosecution of a patent

application has a duty of candor and good faith in dealing with the Office, which

includes a duty to disclose to the Office all information known to that individual to

be material to patentability as defined in this section.” (37 C.F.R. § 1.56).

      133. This duty of candor to the PTO extends to: (1) each inventor named in

the application; (2) each attorney or agent who prepares or prosecutes the claim; and



                                        - 45 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 46 of 116 PageID #: 46




(3) every other person who is substantively involved in the preparation or

prosecution of the application and who is associated with the inventor, the applicant,

an assignee, or anyone to whom there is an obligation to assign the application. (37

C.F.R. § 1.56)

      134. Nasdaq, its prosecution attorneys, and Serkin et al. each owed a duty of

candor to the USPTO in connection with prosecution of the ’051 Patent and were

obligated to disclose information material to patentability. (37 C.F.R. § 1.56).

      135. Nasdaq, its prosecution attorneys, and Richmann et al. each owed a

duty of candor to the USPTO in connection with prosecution of the ’827 Patent and

were obligated to disclose information material to patentability. (37 C.F.R. § 1.56).

      136. The OptiMark System was material to the patentability of the alleged

inventions claimed in the ’051 and ’827 Patents, and, but for its non-disclosure, the

USPTO would not have issued one or more claims in each of those patents because

it used multiple securities processors, and upon information and belief, assigned to

certain securities and upon information and belief employed a lookup table to index

those assignments.

      137. The OptiMark System, alone or in combination with prior art of record,

anticipates or renders obvious claims of the ’051 and ’827 Patents. Accordingly,

one or more claims of the ’051 and ’827 Patents would not have issued had the




                                        - 46 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 47 of 116 PageID #: 47




OptiMark System been disclosed to the Examiners during prosecution of the ’051

and ’827 Patents.

         138. Nasdaq’s prosecution counsel also knew about the OptiMark System

from Mr. Stiening, and that it was material to the patentability of the alleged

inventions claimed in both the ’051 and ’827 Patents. In addition, Mr. Stiening, a

named inventor on the related Security Processor Provisional, and co-pending ‘316

Application, told Nasdaq’s prosecution attorneys that the OptiMark System

“overlap[s] [with] many of the claims” in Nasdaq’s applications and that

descriptions of the OptiMark System is “relevant prior art.”33

         139. Despite their knowledge of the OptiMark System and its materiality,

the named inventors on the ’051 and ’827 Patents and Nasdaq, acting through its

prosecution attorneys, withheld and did not disclose the OptiMark System to the

Examiners of the ’051 and ’827 Patents.

         140. The named inventors on the ’051 and ’827 Patents and Nasdaq, acting

through its prosecution attorneys, withheld the OptiMark System from the

Examiners during prosecution of ’051 and ’827 Patents with specific intent to

deceive the USPTO. For example, Nasdaq filed Mr. Stiening’s email

correspondence, which described the inventors’ collaboration with OptiMark and his

belief that the OptiMark System was material prior art, with the PTO in connection


33
     ’112 Patent, File Wrapper, 2/19/2003 Petition Entered, App’x A at 4.

                                         - 47 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 48 of 116 PageID #: 48




with the ‘112 Patent, but it withheld this critical information in connection with the

prosecution of related ’051 and ’827 Patents, which were filed the same day as the

’112 Patent, and claimed priority to the same June 2002 Provisional Applications,

but were being examined by different Examiners at the USPTO.               Moreover,

Nasdaq’s prosecution attorneys, in collaboration with the named inventors of ’051

and ’827 Patents, were distinguishing prior art cited by the examiner based on its

alleged failure to disclose elements that they knew to be present in the OptiMark

trading system, such as having multiple securities processors or configurable lookup

tables.

      141. This deliberate, deceitful, and inequitable conduct renders the ’051 and

’827 Patents unenforceable, and is a fraud perpetrated on the patent office in order

to procure the ’051 and ’827 Patents.

      142. The ’827 Patent and ’051 Patent are unenforceable because Nasdaq,

through its counsel, and the named inventors on those patents, committed inequitable

conduct by failing to disclose to the PTO during prosecution: (1) the OptiMark

System; (2) the LSE Platform; and (3) inventorship non-joinder and misjoinder.

     Nasdaq’s Withholding Of The Kogan Reference During Prosecution Of
       The ’051 Patent And Examiner Liu’s Official Notice and Minton
          Reference During Prosecution Of The Related ’827 Patent

      143. During prosecution of the ’051 Patent, the patent examiner, Marissa

Liu, rejected the claims pending in the application four times based on prior art. In



                                        - 48 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 49 of 116 PageID #: 49




the first office action, dated June 22, 2007, Examiner Liu rejected the claims over

US 6,278,982 to Korhammer, finding that the Korhammer reference was prior art

that disclosed the invention including the feature of a configurable look-up table that

included assignments to a plurality of securities processors in an electronic securities

trading platform. After a non-persuasive response from Nasdaq this rejection and

its bases was repeated in a second office action dated August 8, 2008.

      144. In the next office action dated March 13, 2009, Examiner Liu

maintained her rejection over Korhammer but also issued an Official Notice that the

claimed feature “populat[ing] [the lookup table] with each assignment determining

which security processor will execute an order for a specific security and with

assignment entries [] is old and well known in the security trading industry . . . .”34

      145. After rejecting Nasdaq’s arguments with respect to the prior art,

Examiner Liu issued a fourth office action dated January 22, 2010. In that office

action, Examiner Liu maintained her rejection and also provided another prior art

reference, US 6,014,643 to Minton, in support of the Official Notice.

      146. But after a telephone interview with Nasdaq’s prosecution counsel,

Denis Maloney, on September 16, 2010, Examiner Liu made an Examiner’s

Amendment to the claims to include another feature - that the configurable look-up



34
  ’051 Patent, File Wrapper, 03/13/2009 Non-Final Office Action at 3 (emphasis
added).

                                         - 49 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 50 of 116 PageID #: 50




table included a specific entry table and a rule entry table. The amendment also

included the concept that the specific entry table has the assignment for specific

securities, whereas the rule entry table has assignment for a range of securities.35

Based on the narrowing of the claims to require both a specific entry table and rule

entry table, Examiner Liu allowed the claims and the ’051 Patent issued on April 5,

2011.

        147. On September 16, 2010 Nasdaq’s counsel, who was the principal

prosecution attorney for both the ’051 and ’827 Patents, had actual knowledge that

the newly added feature relied upon by Examiner Liu was disclosed in other prior

art that, under false and fraudulent pretenses, was wrongfully withheld from

Examiner Liu.

        148. The applications that lead to the ’051 and ’827 Patents were prosecuted

by the same principal prosecution counsel simultaneously, but before different

Examiners at the USPTO. Examiner Liu examined the ’051 Patent, while Examiner

Hai Tran examined the ’827 Patent.

        149. The claims in the application that led to the ’827 Patent were similar to

those pending before Examiner Liu. The claims also included the concept of a

configurable look-up table having a specific entry table and a rule entry table, where




35
     Id., 12/02/2010 Notice of Allowance and Fees Due, Examiner’s Amendment at 1.

                                         - 50 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 51 of 116 PageID #: 51




the specific entry table had assignments for specific securities and the rule entry table

had assignment for a range of securities.

        150. On October 28, 2009, while the ’051 Patent was still pending before

Examiner Liu, Examiner Tran rejected the claims pending in the ’827 Patent. In the

Office Action, Examiner Tran found that US 6,820,069 to Kogan was prior art that

disclosed a configurable lookup table that had both a specific entry table and a rule

entry table, where the specific entry table is for specific security entries and the rule

entry table is for id-range entries—the same features that Examiner Liu relied upon

in the ’051 Patent to allow the case.36

        151. Nasdaq’s prosecution attorneys had a duty to disclose Kogan and the

findings made by Examiner Tran, to Examiner Liu who was examining the similar

’051 Patent.

        152. Nasdaq’s prosecution counsel did not disclose Kogan to Examiner Liu

through an Information Disclosure Statement (“IDS”) or during the telephone

interview with Examiner Liu on September 16, 2010, when they discussed prior art

and the claims.37

        153. Nasdaq’s prosecution counsel did not disclose a copy of Examiner

Tran’s Office Action with the findings with respect to Kogan to Examiner Liu


36
     ’827 Patent, File Wrapper, 10/28/2009 Final Office Action at 7.
37
     ’051 Patent, File Wrapper, 12/02/2010 Examiner Interview Summary Record at
1.

                                          - 51 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 52 of 116 PageID #: 52




through an IDS or during the telephone interview with Examiner Liu on September

16, 2010, when they discussed prior art and the claims.38

           154. Kogan and Examiner Tran’s findings in the Office Action dated

October 28, 2009 were material to the patentability of the alleged inventions claimed

in the ’051 Patent, and, but for its non-disclosure, Examiner Liu would not have

issued one or more claims in the ’051 Patent.

           155. Examiner Liu relied on the claimed feature of the recited look-up table

having a specific entry table and rule entry table to allow the claims. Examiner Tran

in connection with prosecution of the related ’827 Patent found that Kogan disclosed

this feature. Had Examiner Liu known of Examiner Tran’s findings and Kogan she

would not have allowed one or more claims of the ‘051 Patent.

           156. Despite their awareness of Kogan and Examiner Tran’s findings, and

their materiality to the claims pending in the related ’051 Patent, Nasdaq’s

prosecution attorneys deliberately withheld and did not disclose Kogan or Examiner

Tran’s findings to Examiner Liu in connection with prosecution of the ’051 Patent.

           157. Nasdaq’s prosecution attorneys deliberately withheld material

information identified during prosecution of the ’827 Patent from Examiner Liu who

was examining the ’051 Patent. This deliberate, deceitful, and inequitable conduct




38
     Id.

                                           - 52 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 53 of 116 PageID #: 53




not only renders the ’051 Patent unenforceable, but it is a fraud perpetrated on the

patent office in order to procure the ’051 Patent.

      158. Likewise, while prosecuting the application that led to the ’827 Patent

before Examiner Tran, Nasdaq’s prosecuting attorney withheld the Official Notice

lodged by Examiner Liu from Examiner Tran. Examiner Liu had taken Official

Notice that “populat[ing] [the lookup table] with each assignment determining which

security processor will execute an order for a specific security and with assignment

entries [] is old and well known in the security trading industry . . . .”39 This

information was material to the claims pending before Examiner Tran because those

claims recited this old and well known feature. Additionally, Nasdaq did not cite

U.S. Patent 6,014,643 to Minton, the prior art reference relied upon by Examiner

Liu as support for her taking the Official Notice, in an IDS in connection with

prosecution of the ’827 Patent.

      159. Despite their awareness of Examiner Liu’s Official Notice and Minton,

and their materiality to the claims pending in the related ’827 Patent, Nasdaq’s

prosecution attorneys withheld and did not disclose Minton or the Official Notice to

Examiner Tran in connection with prosecution of the ’827 Patent.




39
  ’051 Patent, File Wrapper, 03/13/2009 Non-Final Office Action at 3 (emphasis
added).

                                        - 53 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 54 of 116 PageID #: 54




      160. Nasdaq’s prosecution attorneys deliberately withheld material

information identified during prosecution of the ’051 Patent from Examiner Tran

who was examining the ’827 Patent. This deliberate, deceitful, and inequitable

conduct not only renders the ’827 Patent unenforceable, but it is a fraud perpetrated

on the patent office in order to procure the ’827 Patent.

      161. Nasdaq is directly liable for the acts of its own officers, directors, and

attorneys.

                  Nasdaq’s Deceptive Claim Of Priority To The
              June 2002 Applications To Back-Date The ’506 Patent
      162. On November 21, 2002, Nasdaq filed, through its prosecution counsel,

Denis Maloney and Brian Colandreo, U.S. Patent Application No. 10/301,806 (the

“‘806 Application”), which issued as U.S. Patent No. 7,747,506, with the USPTO

on June 9, 2010. The ’506 Patent relates to the monitoring of an indicator signal,

often referred to as a heartbeat, to determine connectivity of a client system.

      163. The inventors listed on the patent application filing are: Keith

Alexander, Paul Buu, Edward N. Flynn, Roberta Gail, David Gallucci and Jay

Thompson (Alexander et al.).

      164. Even though the ’806 Application claims priority to the June 2002

Provisional Applications, there is no common inventor among the inventors listed




                                        - 54 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 55 of 116 PageID #: 55




on the ’806 Application and either of the June 2002 Provisional Applications, as

required under the law.40

      165. After the ’806 Application was filed, the USPTO issued a Notice to File

Missing Parts Of Non-Provisional Application (“Notice”). The Notice indicated that

the filed application omitted sworn Declarations from each of the inventors listed on

the application.41

      166. Each inventor in an application for patent must execute a sworn oath or

declaration in a patent application. (See 37 CFR 1.63). The inventors must swear,

among other things, that they believe to be the original and first inventor. (Id.).

      167. Nasdaq’s prosecution attorneys filed a response to the Notice on May

7, 2003, and submitted Declarations executed by each of the inventors it listed on

the ’806 Application. Nasdaq’s prosecution attorneys, however, had actual

knowledge that there was no common inventor between these inventors and those

on the June 2002 Provisional Applications, and also had actual knowledge that




40
   ’506 Patent, File Wrapper, 06/09/2010 Issue Notification; According to USPTO
records, the inventors who were listed for the SuperMontage Provisional are: James
Richmann, Daniel Moore, Stuart Serkin, Tim Vincent, Peter Martyn, Mark DeNat
and Jack Hughes. (See, 60/385,979, File Wrapper). The inventors who were listed
for the Security Processor Provisional are: Daniel Moore, Stuart Serkin, Tim
Vincent, Jack Hughes and Fred Stiening. (See, 60/385,988, File Wrapper). No
OptiMark nor Accenture contractors were named as inventors.
41
   ’506 Patent, File Wrapper, 01/07/2003 Miscellaneous Action with SSP at 1.

                                        - 55 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 56 of 116 PageID #: 56




Nasdaq had no right, under the law, to claim priority to the June 2002 Provisional

Applications.

      168. Alexander et al. filed through Nasdaq’s prosecution attorneys sworn

statements that each was an original and first, joint inventor of the claimed subject

matter in the ’806 Application and that they reviewed and understood the contents

of the specification of the ’806 Application.




      169. The specification of the ’806 Application included a reference to the

June 2002 Provisional Applications:




                                        - 56 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 57 of 116 PageID #: 57




      170. Alexander et al. also swore to the right to claim priority to the date of

the June 2002 Provisional Applications.




      171. Alexander et al. knew when they reviewed the ’806 Application that it

claimed priority to the June 2002 Applications. Each inventor also knew that he or

she was not an inventor on the June 2002 Provisional Applications. Accordingly,

Alexander et al. were aware there was no common inventor.

      172. Alexander et al. made knowingly false statements to the USPTO in this

Declaration because there was no right to claim priority to the June 2002 Provisional

Applications as each of Alexander et al. knew he or she did not contribute to the

subject matter of either of the June 2002 Provisional Applications. Despite this

knowledge, Alexander et al. under false and fraudulent pretense, claimed priority to

the June 2002 Provisional Applications anyway.




                                       - 57 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 58 of 116 PageID #: 58




       173. Nasdaq’s prosecution attorneys who drafted and filed the June 2002

Provisionals and the ’806 Application submitted these Declarations to the USPTO

knowing they contained false information.

       174. Nasdaq’s prosecution attorneys knew that there was no common

inventor of the ’806 Application with either of the June 2002 Provisionals. Despite

this knowledge, Nasdaq’s prosecution attorneys under false and fraudulent pretense,

claimed priority to the June 2002 Provisional Applications.

       175. The priority claim made by Nasdaq’s prosecution attorneys and

inventors of the ‘806 Application went unchallenged by the Examiner at the USPTO.

Thus, the priority date limited the relevant prior art to only that prior art that predated

June 5, 2002, the filing date of the June 2002 Provisional Applications.

      176. Under false and fraudulent pretense, Nasdaq’s prosecution attorneys

and Alexander et al. claimed priority to the June 2002 Provisional Applications to

backdate the filing date of the ’806 Application.

      177. By backdating the filing date of the ’806 Application, the Patent

Examiner limited his search to only prior art having a date before the backdated

filing date of the ’806 Application. This had the effect of limiting available prior art

the Examiner could use to examine the patentability of the claims of the ’806

Application.




                                          - 58 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 59 of 116 PageID #: 59




         178. The Examiner issued the ’806 Application as the ’506 Patent based on

the false and fraudulent conduct by the Nasdaq prosecution attorneys and Alexander

et al.

             Nasdaq ISE’s Withholding OM Click Exchange™ Software
              Manufactured by OM Technology AB from the USPTO

         179. Nasdaq ISE and its prosecution attorney Steven J. Lieb, and the solo

inventor on the ’707 and ’093 Patents withheld material information, namely of OM

Click Exchange™ software manufactured by OM Technology AB, during

prosecution of the applications that led to the ’707 and ’093 Patents.

         180. On November 2, 1999, Nasdaq ISE filed U.S. Patent Application

No. 09/433,613 (the “’613 Application”), which issued as U.S. Patent No. 6,618,707

(the ’707 Patent”) on September 9, 2003. The sole inventor listed on the ’707 is

Gary Katz.

         181. Before the ’707 Patent issued, Nasdaq ISE filed a continuation

application. U.S. Patent Application No. 10/418,908 (the “’908 Application”) claims

priority to the ’707 Patent. The ’908 Application issued as US 7,246,093 on July

17, 2007. The ’707 Patent and the ’093 Patent share the same disclosure. In the

Nasdaq Lawsuit, Nasdaq ISE argued to the Court that “[t]he ’707 and ’093 Patents

are directed to improvements to method and systems aimed at enhancing liquidity

and the fair and accurate handling of electronic trades and transactions through the




                                        - 59 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 60 of 116 PageID #: 60




use of data interfaces, allocation parameters, and various ‘tables’ for order

processing. (Dkt. No. 38 at 24; citing ’707 Patent, 4:55-6:21, 8:44-66).

        182. For example, Nasdaq ISE argued that “Claim 1 of the ’707 improve[s]

how orders and quotes [for securities] can be received and processed

electronically—by requiring allocation rules and tables to ensure fairness and

liquidity in the market, thereby preventing traders from manipulating or otherwise

taking advantage of market conditions or system limitation. Those practices go

beyond replicating what occurs on a trading floor.” (Id. at 30).

        183. Similarly, it argued that “Claim 1 of the ’093 Patent requires, among

other elements, ‘a computer interface adapted to receive from a first market

participant a block order,’ ‘a computer interface adapted to . . . receive responses to

the transmitted information from the second market participants,’ and ‘processor

means for allocating portions of the incoming order or quotation…based on the

allocating parameters.” (Id. at 28; citing ’093 Patent cl. 1).

        184. Nasdaq ISE’s expert, Mr. Vinella, argued to the PTAB during the

related CBMR proceedings that the claimed invention in the ‘707 and ’093 Patents

is “the exchange” and Nasdaq ISE further clarified that the “claims require special

purpose computers programmed to perform certain disclosed algorithms.”42 Each

of the independent claims of the ’707 patent recites a “processor means for allocating


42
     CBM2018-00021 (Paper 6 at 5), July 5, 2018.

                                         - 60 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 61 of 116 PageID #: 61




portions of an incoming order [or quotation] among the plurality of received orders

and quotations in the book memory means based on the allocating parameters in the

system memory means.”43

      185. Similarly, each independent claim of the ’093 Patent recites a processor

programmed with an algorithm for allocating the orders among responses received

during a time period or stored in memory.44

      186. The common specifications of the ’707 and ’093 Patents disclose that

the claimed “exchange 1 may be implemented on a general purpose computer under

the control of a software program.”45 Thus, Nasdaq ISE asserts that the software

program deems the claimed exchange a special purpose computer because it runs

OM Click Exchange™ software. . .”46 The Nasdaq ISE told the PTAB that the OM

Click Exchange is a software development framework to help construct an electronic

exchange.47

      187. The PTAB found that the OM Click Exchange software was known off-

the-shelf computer software at the time of the inventions claimed in the ’093 and




43
   ’707 Patent, cls. 1, 4, 12, 13, 16, 22, and 28.
44
   ’093 Patent, cls. 1, 3, and 5.
45
   ’093 Patent at 8:46-47; ’707 Patent at 8:44-46.
46
   ’093 Patent at 8:47-51; ’707 Patent at 8:46-48.
47
   CBM2018-00031 (Paper 47 at 59), January 17, 2019; CBM2018-00021 (Paper 42
at 55), January 17, 2019.

                                      - 61 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 62 of 116 PageID #: 62




‘707 Patents.48 Nasdaq ISE’s expert argued that electronic exchanges are built, at

least in part, when a framework such as OM Click Exchange™ is used.49

       188. The patents’ disclosures admit that “Exchange 1 may further be

implemented on an Open VMS system running the OM Click Exchange™ software

manufactured by OM Technology AB.”50

       189. During the CBMR proceedings, the PTAB found that the OM Click

Exchange™ software was known off-the-shelf computer software at the time of the

inventions claimed in the ’093 and ’707 Patents.51 Thus, it was prior art to both the

’707 and the ’093 Patents.

       190. Nasdaq ISE, its prosecuting attorney, and the sole inventor withheld

from the USPTO, with the intent to deceive, information about OM Click

Exchange™ software. The OM Click Exchange™ software was not submitted in an

IDS.

       191. The information was material because the OM Click Exchange™

software is “suitable software for performing the various functions described [in the




48
   CBM2018-00031 (Paper 86 at 23), Oct. 1, 2019; CBM2018-00021 (Paper 82 at
33-34), Oct. 1, 2019.
49
   CBM2018-00031 (Paper 86 at 27), Oct. 1, 2019 (citing Decl. of Mr. Vinella, Ex.
2032 ¶ 51, see id. ¶¶ 93-105).
50
   ’093 Patent at 8:47-51; ’707 Patent at 8:44-50.
51
   CBM2018-00031 (Paper 86 at 23); CBM2018-00021 (Paper 82 at 33-34).

                                       - 62 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 63 of 116 PageID #: 63




‘707 and ‘093 Patents]. . .” as admitted in the specifications of the ’707 and ’093

Patents.52

       192. This information, either by itself or in combination with other

information, is a prima facie case of unpatentability under 35 U.S.C. §§ 102-103

with respect to the claimed inventions of ’707 and ’093 Patents.

       193. Any reasonable examiner would have considered the OM Click

Exchange™ software critical to the patentability of the inventions claimed in the

’707 and ’093 patents and would have rejected the claims that issued and were later

asserted in this litigation.

             Nasdaq’s Failure To Conduct A Pre-Filing Investigation

       194. It is evident from the record that Nasdaq conducted no reasonable

pre-filing investigation prior to filing the Nasdaq Lawsuit.

       195. For starters, Nasdaq alleged infringement of a patent claim that had

already been found invalid. (Nasdaq Lawsuit Complaint (hereinafter “Compl.”) ¶

37). Claim 4 of the ’707 patent was found invalid in Chicago Board Options

Exchange, Inc. v. International Securities Exchange, LLC, 07-cv-0623, Dkt. Nos.

716, 722 (N.D. Ill April 10, 2013) (final judgment and order).53 This litigation

history should not have eluded Nasdaq since right before ISE was acquired by


52
  ’093 Patent, 8:46-57; ’707 Patent 8:44-55.
53
  Nasdaq acquired the International Securities Exchange, along with its ‘707 patent.
(See, Compl. ¶¶ 4, 13).

                                        - 63 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 64 of 116 PageID #: 64




Nasdaq, it was ordered to pay over six million dollars in attorneys’ fees for asserting

this same patent against another exchange. Again, had a minimally diligent pre-suit

investigation been done, this claim would have never been asserted against MIAX.

      196. Next, Nasdaq has sued every corporate entity associated with MIH,

alleging patent infringement and misappropriation of “trade secrets” by former

Nasdaq employees.

      197. Among the entities sued by Nasdaq are MIAX Technologies, a MIAX

technology company, which has yet to sell an electronic trading system to an

exchange, but which has started competing with Nasdaq—even bidding directly

against them—for large technology contracts.54

      198. In the Nasdaq Complaint, Nasdaq fails to make any factual allegation

against MIAX Technologies in any count asserting patent infringement. (See,

Compl. ¶¶ 38-50; 51-64; 67-68; 77-88; 8 9-102; 113-124).

      199. Nor does Nasdaq make any factual allegations against MIAX

Technologies in the trade secret misappropriation Counts. (See Compl. ¶¶ 125-173).

Instead, Nasdaq lumps together its infringement and trade secret allegations against



54
   See “After Mishaps, Nasdaq Loses Standing to Rivals”, Popper, N., N.Y. Times,
available at https://dealbook.nytimes.com/2013/08/23/after-mishaps-nasdaq-loses-
standing-to-rivals/ (Aug. 23, 2013) (“One source of profits [for Nasdaq], somewhat
unexpectedly given this week’s [technical failures], has been Nasdaq’s trading
platform technology, which the company has sold to other exchanges around the
world.”).

                                        - 64 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 65 of 116 PageID #: 65




a catch-all term “MIAX” — defined to include every single corporate entity

associated with MIH during the time. (See, Compl. at 2).

      200.     Had Nasdaq done a minimum amount of due diligence before bringing

the action it would have known that MIAX Technologies does not own the ’461

Patent – which Nasdaq alleges comprises Nasdaq Trade Secrets– nor does it employ

any of the former Nasdaq employees who allegedly took Nasdaq trade secrets.

               Nasdaq’s Litigation Is Objectively Baseless and a Sham

      201. The Nasdaq Lawsuit was objectively baseless and a sham, highlighting

the ulterior motives for Nasdaq’s filing the action as part of a multi-prong strategy

to stifle competition.    Indeed, years before the Nasdaq Complaint was even

docketed, Nasdaq’s then Vice President Sandy Frucher threatened to put MIAX out

of business.

      202. Upon information and belief, Frucher directed the Nasdaq Lawsuit to

crush MIAX, knowing that at the time MIAX had not yet been profitable and had to

raise capital to sustain itself. A very expensive lawsuit would certainly paralyze

MIAX’s ability to further raise the capital needed to sustain its losses and grow.

Frucher also knew MIAX intended to launch additional exchanges, and the filing of

a lawsuit would make it nearly impossible to raise financing from investors, or

alternatively, would allow capital raises only at extremely high interest rates, in a




                                       - 65 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 66 of 116 PageID #: 66




very low interest rate environment. A direct result of this tactic means financing has

become much more expensive and dilutive to its shareholders.

                Assertion of the Fraudulently Procured ’051 Patent

      203. During the CBMR proceedings, Nasdaq argued that the ’051 Patent

claims a “multi-parallel fault-tolerant system [that] is an improvement over prior art

electronic securities trading systems, because it makes conventional load balancing

(where trade volume is distributed evenly across processing units) ‘smart’—i.e., the

innovative system’s architecture utilizes a look-up table that diverts trades to specific

securities processors programmed to handle trades for specific securities based on

the content or characteristics of trades received.”55

      204. Nasdaq further argued that it “invent[ed] a specific way to route

incoming data that achieves load balancing in a manner that had not been done

before.”56 This specific way, according to Nasdaq, is a “split engine” that

incorporates “a multi-parallel architecture of securities processors.”57

      205. It further argued that the “lookup table” wasn’t any ordinary lookup

table, but that the “securities processors are also separated into specific assignments

based on an individual security identifier, and those assignments are controlled by a




55
   CBM2018-00030 (Paper 25 at 78), Jan. 14, 2019.
56
   Id. at 2.
57
   Id. at 6.

                                         - 66 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 67 of 116 PageID #: 67




complex lookup table.”58 Further, the “claims recite a lookup table having a specific

two-part, message content-based structure.”59

      206. Nasdaq further argued that the “configurable look-up table [] both

identifies the securities having specific securities processor assignments, and

provides routing instructions for processing orders for securities that do not have

specific assignments.”60 “The claimed configurable lookup table,” as contended by

Nasdaq, “changes the messages routing paths within the electronic trading

system.”61 “The claimed configurable lookup table is capable of routing a message

to the right securities processor for execution regardless of whether a single

securities processor is dedicated to handle that security, or whether that security is

generally processed.”62

      207. In distinguishing over prior art, Nasdaq argued that “existing load

balancing techniques . . . did not balance the load according to instructions in a look-

up table based on a message containing a unique security identified.”63 “The

challenged claims thus provided,” Nasdaq argued, “a specific, dynamic load




58
   Id. at 7.
59
   Id. at 2.
60
   Id. at 13.
61
   Id. at 86.
62
   Id., (Paper 6 at 18), July 19, 2018 (emphasis added).
63
   Id. at 27 (citing Decl. of Mr. Vinella Ex. 2017 ¶¶ 82-86).

                                         - 67 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 68 of 116 PageID #: 68




balancing technique implemented on a multi-parallel architecture that minimized

delay and increased throughput in a computerized trading system.”64

       208. As Nasdaq represented to the PTAB:

       “What this lookup table does is it interrupts that process or changes that
       [routing] process to how, the messages come in. They are unpacked to
       determine what security they are relevant to. The lookup table is consulted.
       And based on the two parts of the look-up table, the securities processor is
       assigned to the incoming message.”65

       209. In its Complaint, however, Nasdaq does not assert that MIAX Options

or MIAX PEARL - the Accused Exchanges - have any of these features it

represented during the CBMR proceedings are required by the claims of the ’051

Patent. Nasdaq’s position on what the claims require for infringement is wholly

inconsistent with what it argued the claims require when it was defending their

validity.

       210. In the Complaint, Nasdaq alleges that MIAX’s exchange is a “system

in an electronic securities market” that has a “matching engine” and utilizes “main

memory coupled to the matching engine” that includes an “[order] book.”66 (See,

Compl. ¶¶ 91-93).




64
   Id.
65
   Id. (Paper 63 at 37:14-19), Sept. 24, 2019.
66
   The order book as alleged supra in memory was contributed by the Accenture
contractors during the collaboration, and thus, is part of the fraud on the patent office
in procuring the ‘051 Patent. See supra, e.g., ¶¶ 79, 89, 93-99, 103, 111-114.

                                         - 68 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 69 of 116 PageID #: 69




      211. Nasdaq also alleges that orders and quotes for securities from market

makers and members are sent to MIAX through one of two gateways to its exchange.

(See, Compl. ¶¶ 95-96). The MIAX documentation relied upon by Nasdaq, however,

clearly states that it uses the “FIX protocol” – an industry-wide prior art standard,

for both application messages. Not the specific and smart configurable look-up table

that both identifies the securities having specific securities processor assignments,

and provides routing instructions for processing orders for securities that do not have

specific assignments, as Nasdaq represented to the USPTO is required by all of the

claims.

      212. Nasdaq’s infringement allegations are objectively baseless because

they fail to allege that the Accused Exchanges employ the specific configurable

lookup table Nasdaq contends is the ground breaking feature of the patent: the so-

called “two-part look-up table” “having a specific two-part, message content-based

structure.”

      213. Nasdaq’s allegations are equally baseless with respect to the “multi-

parallel architecture” element of the claims of the ’051 Patent which Nasdaq

represented to the USPTO is not merely adding “additional processing units to the




                                        - 69 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 70 of 116 PageID #: 70




trading system.”67 Instead, it is a “multi-parallel, fault-tolerant system”68 that is

“intelligent.”

      214. But in the Complaint, Nasdaq took a different position. Nasdaq alleges

that the Exchange has multiple matching engines (processors) and thus infringes.

But merely having additional processors in a trading system is exactly what Nasdaq

told the PTAB was in the prior art and not the basis for its patent claims:

      At the time of the invention, some electronic trading systems
      attempted to address this overload by adding additional processing
      units to the trading system, and distributing trades across those
      processing units according to traditional load balancing techniques.69

      215. Nasdaq’s admission of the prior art demonstrates that at the time of the

Nasdaq Complaint, it knew either that its patents were invalid over the prior art or,

alternatively, that the Accused Exchanges did not employ the features Nasdaq

contended during the CBMR proceedings are required by the ’051 Patent.

      216. Moreover, Nasdaq and Serkin et al. also knew that both the prior art

OptiMark System and the LSE Platform both included multiple securities processors

and a routing system to route securities order to those securities processors.




67
   CBM2018-00030 (Paper 25 at 6).
68
   (Paper 6 at 15); see also Dkt. No. 38 at 42.
69
   CBM2018-00030 (Paper 25 at 6).

                                        - 70 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 71 of 116 PageID #: 71




                Assertion of the Fraudulently Procured ’827 Patent

        217. During the CBMR proceeding, Nasdaq similarly represented that the

claims of the ’827 Patent also require “a ‘split-engine’ or ‘joint architecture’ that

makes conventional load balancing ‘smart’ or ‘intelligent’, i.e., the architecture

utilizes security-based processor assignments that divert trades to specific securities

processors based on unique characteristics of trades received.”70

        218. Nasdaq argued that the “the order routing system also processes

messages separately and distinct from the plurality of securities processors” and that

the “patent claims describe an innovative architecture (a distributed network of

securities processors along with an assignment-based routing system that together

form a multi-parallel architecture having trade-based load-balancing. . .) that was an

improvement.”71

        219. But just as with the ’051 Patent, Nasdaq advances a wholly inconsistent

and contradictory reading of the claims to allege infringement.

        220. Nasdaq asserts in the Complaint that the Accused Exchanges infringe

the ’827 Patent merely because they allegedly have multiple processors and an order

routing system that routes security interest messages (security orders) to one of the

securities processors. (See, Compl. ¶105).



70
     CBM2018-00032 (Paper 6 at 21), August 21, 2018.
71
     Id. at 43.

                                        - 71 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 72 of 116 PageID #: 72




         221. Nasdaq’s infringement allegations are objectively baseless for two

reasons: first, there is no reasonable basis for alleging that the Accused Exchanges

implement a so-called a ‘split-engine’ or ‘joint architecture’ that makes conventional

load balancing ‘smart’ or ‘intelligent,’ features Nasdaq asserted to the PTAB were

required by the ’827 Patent; and second, Nasdaq’s alleged infringement based on “a

plurality of processors” relies on a construction of the scope of the claims that is

much broader than it argued before the PTAB. Nasdaq knows that this asserted

broader scope for purposes of infringement puts the claims squarely in the prior art.

As it stated to the PTAB on the subject of using additional processors:

         At the time of the invention [of the ’827 Patent], some electronic trading
         systems [included] adding additional processing units to the trading system,
         and distributing trades across those processing units according to traditional
         load balancing techniques.72

         222. Moreover, Nasdaq and Richmann et al. also knew that both the

OptiMark System and the LSE Platform included a plurality of securities processor

and a routing system to route securities orders to those securities processors.

                  Assertion of the Fraudulently Procured ’506 Patent

         223. Nasdaq argues to the PTAB that the ’506 Patent claims require that the

system receive an indicator signal transmitted in a specific fashion: “sequentially,




72
     Id. (Paper 33 at 4).

                                          - 72 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 73 of 116 PageID #: 73




repeatedly, and independently of receipt of attributable security interest messages”

from a client recipient.73

      224. Nasdaq contends that “[b]y proactively sending the indicator signal

independently of the receipt messages the ‘506 patent claims are more responsive in

determining availability, and hence failing over if necessary, than acknowledgment

messages.”74

      225. Nasdaq also represented during the CBMR proceeding that the claimed

“indicator signal” was not a “heartbeat.”75

      226. But in their Complaint, Nasdaq points to MIAX’s implementation of a

“heartbeat” sent from a client system every second to the MIAX system as the

claimed “indicator signal” it told the PTAB excludes heartbeats. (See, Compl. ¶ 81).

      227. In the Complaint, Nasdaq alleges: “For example, a specific message

type of MIAX’s FOI is a ‘Heartbeat.’ The client (MIAX member) computer sends

this indicator signal or message every second to the MIAX system. The procedure

declares the client to be offline (i.e., “link is lost”) when there is no signal for a

defined period (e.g., “3 Heartbeat intervals”).” This alleges exactly the type of




73
   CBM2018-00029 (Paper 6 at 57), July 12, 2018.
74
   Id. (Paper 29 at 42), Jan. 17, 2019 (emphasis added).
75
   Id. at 16 (citing Decl. of Mr. Vinella’s, Ex. 2024, 41 fn. 5 (“This should not be
confused with the standard network diagnostic typically referred to as a heartbeat or
ping.”)).

                                        - 73 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 74 of 116 PageID #: 74




heartbeat it argued to the PTAB was different from the “indicator signal” claimed in

the ’506 Patent.

      228. Nasdaq relies on MIAX documentation that describes its messaging

protocol, but this documentation expressly notes that MIAX uses a prior art

messaging protocol (FIX protocol version 4.2) which Nasdaq knew is prior art to

the ’506 Patent–because it is an industry standard.




      229. As also pointed out in the Complaint, use of the FIX protocol has been

adopted by most participants in the Options industry, including MIAX. Thus, it is

well-known prior art.




                                       - 74 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 75 of 116 PageID #: 75




                 Assertion of the Fraudulently Procured ’707 Patent

        230. During the CBMR proceedings, Nasdaq ISE argued to the PTAB that,

because the allocating limitation in the ’707 Patent is drafted in the form of a means-

plus-function claim, it required construction under 35 U.S.C. 112, ¶ 6, and the recited

algorithms disclosed in the ’707 patent specification are part of the claims.76

        231. The algorithms are set forth in Figures 4(a), 4(b), 5(a) and 5(b) of the

’707 Patent and are additional limitation of the claims.77

        232. Figure 4(a) shown below is an example of the additional limitation

required by the ’707 Patent claims:




76
     CBM2018-00021 (Paper 82 at 61), Oct. 1, 2019.
77
     Id.

                                        - 75 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 76 of 116 PageID #: 76




      233. Figure 4(a) describes a specific matching process for public customer

orders referred to at step S150 and S168 having an order size referred to at step S152.

      234. The specification provides an example at 16:1-25 (emphasis added):




                                        - 76 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 77 of 116 PageID #: 77




        235. The ’707 Patent has a similar disclosure with respect to Fig. 4(b) in

connection with professional orders.78

        236. During the CBMR proceedings, the PTAB found that Figures 4(a),

4(b), 5(a) and 5(b) concern the same allocating functions and criteria recited in the

aforementioned limitation of independent claim 1.79 Accordingly, the PTAB




78
     ’707 Patent at 16:26-67.
79
     CBM2018-00021 (Paper 82 at 20), Oct. 1, 2019.

                                         - 77 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 78 of 116 PageID #: 78




construed the “processor means for allocating” limitation in all of the independent

claims to require the precise algorithms set forth in Figures 4(a), 4(b), 5(a) and 5(b).80

      237. Nasdaq ISE’s overly broad and misleading claim constructions in the

Complaint are contrary to the statements that Nasdaq ISE made to the USPTO during

the CBMR proceedings of the same patent in order to overcome the invalidity

challenge. There, Nasdaq ISE told the PTAB that the claims required the algorithm

shown in the patent. But in the Complaint, they make a contradictory allegation.

      238. In the Complaint, Nasdaq ISE ’707 Patent allegations do not plead that

either Accused Exchange meets the algorithm limitations in Figures 4(a), 4(b), 5(a)

and 5(b).81 (See Compl. ¶¶ 36-50). These are limitations that Nasdaq ISE told the

PTAB the claims require.

                              Misuse of the ’371 Patent

      239. The claims of the ’371 Patent recite a method for cancelling pending

orders for financial articles. The method recites, among other things, “based on

matching, terminating, by one or more switches, at least one communication session

between an entity and a corresponding liquidity destination; and cancelling, by one

or more processors, pending orders from the entity.”82



80
   ’707 Patent at 20-21.
81
   The allocation algorithms disclosed in Figures 4(a) through 5(b) are specific as to
when and how the algorithm is applied to a customer and professional order.
82
   ’371 Patent, cl. 1.

                                          - 78 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 79 of 116 PageID #: 79




      240. FTEN represented to the PTAB during the CBMR proceedings that the

switch as claimed has “the ability to terminate a communication session based on

event matching.”83 FTEN further argued that prior art switches “typically operated

at the packet level,” whereas a communication session “conventionally operated at

another, higher layer” and “event matching was conventionally done [] by an

application program at a still higher level.”84 Thus, FTEN argued that the claimed

“switch” wasn’t any old switch, but a new and improved switch.

      241. FTEN said, “[w]hat the inventors did was architect a switch (then

typically operating at layers 2 and 3 and unaware of the meaning of data it passed at

the higher layers) to terminate a communication session (typically a service provided

by layer 5) based on event matching & typically provide by layer 7).”85

      242. FTEN took a drastically different view of what the claims meant,

however, when alleging MIAX infringed the ’371 Patent. There, FTEN provided

overly broad and misleading claim constructions in its allegations.

      243. In the Complaint, FTEN does not allege that the Accused Exchanges

employ this special “switch” that is aware of the meaning of data it passes at higher

layers. And for good reason. They cannot.


83
   CBM2018-00020 (Paper 46 at 22), Jan. 15, 2019.
84
   Id. at 8-9.
85
   Id.; see also (Paper 73 at 10) (arguing that the claimed switch is unconventional
because prior art switches “lacked knowledge of the higher network layers where
communication sessions are managed.”)

                                       - 79 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 80 of 116 PageID #: 80




      244. Nor does FTEN rely on any MIAX documentation that suggests the

Accused Exchanges have a switch that actually terminates the underlying

communication session with the entity upon an event. See, e.g., Compl. ¶¶ 116,117.

In contrast, FTEN relies on documentation in the Complaint that actually indicates

there is no termination of the communication session. And as such, there can be no

infringement.

      245. FTEN cites:




(See, id. at ¶117 (p 61)).

      246. As stated above, when a Market Maker has traded a number of contracts

equal to or above their Allowable Engagement Percentage, their quotations are

removed. Nasdaq knows that removing quotations is not the same as terminating a

communication session with the entity. The documentation further notes that the

Market Maker sends a notification to reengage quoting and submits a new revised

quotation. The documents FTEN relies upon indicate that there is no termination of

the underlying communication session, but rather any additional quotations are

removed when a market maker meets or exceeds its quota.




                                      - 80 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 81 of 116 PageID #: 81




      247. FTEN’s assertions of inconsistent positions to the PTAB and the

District Court are for the purpose of saving a patent knowingly invalid so that it

could be maintained in a sham litigation knowing that the claims are not met by the

Accused Exchanges.

      248. Nasdaq’s infringement claims on all the asserted patents are objectively

baseless and have been maintained by Nasdaq for the purpose of inflicting collateral,

anti-competitive injury on MIAX and the market. In addition to the damage to the

market, MIAX suffered substantial damages as a result of Nasdaq’s unlawful

activities, including, but not limited to, the loss of profits they otherwise would have

made. MIAX was also forced to expend millions of dollars in legal expenses to

defend itself against Nasdaq’s sham patent infringement claims.

              NASDAQ’S OTHER EXCLUSIONARY CONDUCT

                        Nasdaq’s SEC Foreclosure Scheme
      249. Nasdaq not only waged war against competition and competitors before

the PTO and the courts. It also took its any-means-necessary campaign to shield

itself from the vigors of competition to the SEC in a shameless and desperate effort

to prevent competitors from being able to launch their exchanges.

      250. Any company wishing to be a national securities exchange must be

registered with the SEC under Section 6 of the Securities Exchange Act of 1934.




                                         - 81 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 82 of 116 PageID #: 82




      251. Seeing an opportunity to potentially prevent MIAX from entering the

market, in October 2012, Nasdaq submitted a letter to the SEC, urging it to reject

MIAX’s application to register as a national securities exchange.86 Wasting no

opportunity for irony, Nasdaq included in its letter a statement that it “supports

competition in the options markets and has long championed the benefits of new

entrants. . . .” Nasdaq then went on to urge the SEC to effectively shut a new entrant

– MIAX – out of the market. The SEC rejected Nasdaq’s efforts and approved

MIAX’s application.

      252. Nasdaq, however, did not stop there. Nasdaq later attempted to block

the SEC from approving the registration of yet another new entrant, IEX, going so

far as to threaten litigation against the Commission.87 Again, the SEC spurned

Nasdaq’s effort to exclude a rival from the market and approved IEX’s application.

      253. But Nasdaq wasn’t done. When MEMX, a new entrant created by a

number of large bankers and brokers, sought SEC approval as a national securities

exchange in 2019, Nasdaq struck again. Demonstrating again that it should be

judged by its deeds and not its words, Nasdaq told the SEC that it “welcomes the

prospect of MEMX's entry into what is already a vigorously competitive market,”


86
   Letter from Nasdaq OMX to U.S. Securities and Exchange Commission, available
at https://www.sec.gov/comments/10-207/10207-2.pdf (Oct. 4, 2012).
87
   See “Nasdaq Goes Nuclear On The SEC,” Tuner, M.; Feloni, R.; INSIDER,
available at https://www.businessinsider.com/nasdaq-law-suit-threat-iex-sec-2016-
5 (May 19, 2016).

                                        - 82 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 83 of 116 PageID #: 83




just before it urged the SEC to reject the application. Nasdaq’s obstruction yet again

failed, and the application was approved.

               Nasdaq’s Campaign of Commercial Disparagement

      254. Nasdaq also launched a campaign of commercial disparagement to

block MIAX from the market. Nasdaq was well aware that the vast majority of

financial exchanges would be very concerned about taking the risk of purchasing an

electronic trading system that was the subject of an intellectual property dispute:

particularly one brought by the dominant supplier in the market. Their concerns

would include potential repercussions from political and/or regulatory oversight

bodies in their country; the risk of being unwittingly dragged into litigation; the very

grave risk of having to undertake the enormous cost and significant operational risk

of switching systems; and the risk of leaving customers disgruntled about having to

incur the time and expense of adapting to the new system.

      255. Knowing that regulated entities such as financial exchanges would be

extremely sensitive about doing business with a company accused of stealing

technology, Nasdaq made sure to contact potential customers of MIAX to let them

know of its intellectual property claims, and to falsely tell them that MIAX had

“stolen” its technology. So widespread was Nasdaq’s disparagement campaign that

MIAX representatives heard time and again from potential customers that they had




                                         - 83 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 84 of 116 PageID #: 84




learned of the patent litigation from Nasdaq, which had accused MIAX of having

“stolen” its technology.

                           Nasdaq’s Product Bundling

      256. As alleged previously, during the last fifteen years, Nasdaq has

acquired numerous companies that enable it to provide a wide range of financial

market trading products and services.

      257. In fact, Nasdaq now boasts on its website that it offers to customers

today “robust end-to-end solutions to financial infrastructure providers. . . . [that

relies on] a single operational core that ties together the deep portfolio of Nasdaq’s

proven business functionality across the trade lifecycle. . . .”88 Nasdaq calls this

“end-to-end solutions” offering the Nasdaq Financial Framework (NFF).

      258. With respect to the trading and execution phase of a trade lifecycle,

Nasdaq today offers customers the following products and services, among others,

with its electronic trading system:

      a.     Pre-Trade Risk Technology (risk controls or risk checks to
             ensure protection to mitigate multi-asset risk upfront);

      b.     Index Calculation Technology (“computes and disseminates
             multi-asset, multi-currency indexes);

      c.     Nasdaq Market Surveillance (monitors trading activity to detect
             regulatory irregularities;


88
  See “Solutions for Market Infrastructure Operators”, available at
https://www.nasdaq.com/solutions/solutions-for-market-infrastructure-operators.

                                        - 84 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 85 of 116 PageID #: 85




      d.      Marketplace Intelligence Technology (data and analytics tools);

      e.      Marketplace Advisory Services (“strategic and operational
              guidance”); and

      f.      Marketplace Services Platform (cloud-based marketplace
              creation).

      259. No other electronic trading system competitor can offer nearly the

range of financial market infrastructure products and solutions that Nasdaq is able

to provide.

      260. Nasdaq takes advantage of the breadth of its offerings by bundling its

high-performance electronic trading system with its other products and services, and

offering a discount across the bundle that forecloses from the market high-

performance electronic trading system competitors, including MIAX. Nasdaq’s

bundling strategy further ensures that exchange customers will not buy MIAX’s

products, even though they offer superior performance and substantially lower

operating costs than Nasdaq’s products.

      261. On information and belief, Nasdaq then takes advantage of the high

costs of switching high-performance electronic trading systems by raising its prices

on the ongoing products and services it sells to its exchange customers.

                           THE RELEVANT MARKETS

              High-Performance Electronic Trading Systems Market

      262. High-performance electronic trading systems allow exchanges to match

buyers’ and sellers’ bids and offers for a particular security according to a set of rules

                                          - 85 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 86 of 116 PageID #: 86




governing the priority of submitted bids and offers, and execute the trades in

nanoseconds and, in some cases, enable exchanges to process millions of

transactions per second.

       263. High-performance electronic trading systems are unique because there

is no other product or physical trading system or platform that can match the speed,

efficiency or accuracy of such software platforms in matching buyers’ and sellers’

bids and offers of financial instruments, according to priority rules, and executing

their trades.

       264. Moreover, physical trading floors cannot come close to the

performance of high-performance electronic trading systems, and therefore are not

reasonable substitutes for such products.

       265. High-performance electronic trading systems used by financial

exchanges for the high-speed and deterministic matching of orders for securities or

other financial instruments and executing the trade is a relevant market. The features

that distinguish such systems from low-performance electronic trading systems

typically include:

               High throughput (number of messages and transactions per
                second);

               Low latency (the time it takes for data (orders and quotes) to travel
                from one point to another, with very few “outliers”);




                                           - 86 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 87 of 116 PageID #: 87




            Highly deterministic sequential processing (ability to process
             inbound order and quote traffic from the “edge” of the network to
             the matching engine in the order in which they were received);

            High volume capacity (capacity to handle billions or even tens of
             billions of orders and quotes per day);

            High product/symbol capacity (ability to handle a very high
             volume of different products/symbols);

            Scalability (ability of the system can handle an increase in the
             number of trades without additional software changes); and

            High reliability (with respect to quality of executions and
             downtime).

      266. High-performance electronic trading systems are purchased by

financial exchanges because the volume and/or frequency of trades that the exchange

executes or hopes to execute requires low latency, high reliability, and for other

competitive reasons such as competition from a rival exchange, and because they

have the financial means to invest in such systems. Most such exchanges either

handle a very large amount of “high-speed” trading (many trades among the same

group of traders), or a very high volume of trades.

      267. High-performance electronic trading systems are also significantly

more expensive than low-performance systems. While low-performance systems

can be typically purchased for less than $300 thousand, high-performance systems

typically cost many times that.

      268. The relevant market excludes electronic trading systems that do not

offer the high levels of performance (with respect to high-throughput, low latency,

                                        - 87 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 88 of 116 PageID #: 88




determinism, high volume and product/symbol capacity, scalability, and reliability)

offered by high-performance systems and that cost substantially less than high-

performance systems. Exchanges that need or desire high-performance systems

would not consider low-performance systems to be reasonable substitutes because

they do not offer the level of performance needed by the exchange to capably handle

their trading activity (with respect to throughput, latency, and other performance

measures), or would not otherwise allow them to meet their business objectives,

including competing for new business from customers who would expect the level

of performance offered by high-performance systems.

      269. Electronic trading systems are sourced and sold globally, and the

relevant geographic market is therefore global.

                              Relevant Submarkets

      270. Some of the largest, highest-volume financial exchanges with the

technological and financial means to build and use their own electronic trading

systems choose to do so rather than purchasing from a third-party. Many financial

exchanges, however, do not have such capabilities and resources, or, for other

reasons, strongly prefer to buy rather than build a system. Accordingly, building

their own high-performance electronic trading systems is not a reasonable substitute

for purchasing one from a third-party supplier.




                                       - 88 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 89 of 116 PageID #: 89




      271. The global sale and leasing of high-performance electronic trading

systems from third-parties is therefore a relevant submarket.

      272. Financial exchanges do not often purchase or lease electronic trading

systems. Rather, they generally purchase a system and then use it for many years.

Indeed, while the systems might be upgraded in various ways during years of use, a

single exchange might use the same high-performance electronic trading system for

ten years, or more.

      273. When a financial exchange does seek to purchase a new system, it may

consider a single supplier or multiple suppliers (although, as alleged herein,

exchanges today rarely consider any supplier without also considering Nasdaq).

Either way, each sales opportunity for electronic trading systems is, for all practical

purposes, a single, winner-takes-all competition.

      274. Thus, whether or not a formal Request for Proposal (“RFP”) process is

used, each, separate electronic trading system procurement constitutes a single “bid

market.”

      275. Because potential electronic trading suppliers for each such bidding

opportunity operate around the world, the relevant geographic market for such bid

markets is global.




                                        - 89 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 90 of 116 PageID #: 90




           High-Performance Matching Engine Technology Market

      276. Finally, a separate technology market exists for the licensed technology

used in high-performance electronic matching engines, that match bids and offers

for particular financial instruments using one or more algorithms and other

capabilities of the system, and then executes the trades resulting from the matching

process.

      277. High-performance matching engine technology enables the electronic

trading system to match trades much faster, and more accurately, than low-

performance matching engine technology.

      278. There are no reasonable substitutes for high-performance matching

engine technology. Low-performance matching engines do not offer the speed,

accuracy and other trade matching and execution performance metrics offered by

high-performance engines, and humans cannot possibly come close to performing

this function as quickly or as accurately.

      279. The high-performance matching technology market includes the

trading matching technology that is the subject of Nasdaq’s fraudulently obtained

patents asserted against MIAX, and which are the subject of MIAX’s claims, and all

competing technology offered by MIAX and other suppliers.

      280. Because high-performance matching engine technology is licensed

globally, the relevant trading matching engine technology market is global.



                                        - 90 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 91 of 116 PageID #: 91




                       NASDAQ’S MONOPOLY POWER

                        The High-Performance Electronic
                      Trading System Market and Submarket

      281. Today, Nasdaq touts that it provides “[t]he most widely used matching

technology. On the planet.”89 It admits to powering trading at more than 70 markets

globally. Id. According to Nasdaq, its revenues in 2020 for its Market Technology

was over $350,000,000.90

      282. In fact, Nasdaq has dominated the market for high-performance

electronic trading systems for at least the last ten years. Although it has faced

competition from various suppliers over the year, none has been able to dislodge

Nasdaq from its dominant position.

      283. In the last several years, Nasdaq has been able to not just protect but

grow its dominant position through its predatory scheme to block MIAX and other

competitors who threatened Nasdaq’s dominant position and through other

exclusionary conduct, including, but not limited to, its bundled pricing practices and

purchasing other suppliers of trading systems such as Cinnober.



89
     See, “Trading and Matching Technology”, Nasdaq, available at
https://www.nasdaq.com/solutions/trading-and-matching-technology.
90
   See, “Nasdaq Reports Fourth Quarter and Full Year 2020 Results; Delivers Strong
Growth in Revenue and EPS”, available at https://www.nasdaq.com/press-
release/nasdaq-reports-fourth-quarter-and-full-year-2020-results-delivers-strong-
growth-in (Jan. 27, 2021).


                                        - 91 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 92 of 116 PageID #: 92




      284. Nasdaq has also been able to enhance its monopoly power through its

arrangement with the Options Clearing Corporation (“OCC”). OCC clears all

options traded on U.S. exchanges. In 2018, OCC was considering vendors to

upgrade its clearing technology. Cinnober was among the vendors being

considered. Nasdaq owned a forty-percent stake in OCC and, at the time, Nasdaq

Vice Chairman Sandy Frucher sat on OCC’s board. On information and belief,

Nasdaq used and continues to use its influence over OCC to steer the contract

award to Cinnober, which Nasdaq was planning to purchase. Being the technology

supplier to the sole options clearing-house in the U.S. further enhances Nasdaq’s

dominance over the market for the supply of high-performance electronic trading

systems in the U.S. because all U.S. options exchanges use OCC for clearing their

trades.

      285. On information and belief, Nasdaq’s share of the relevant market during

the relevant time period and today is at least 70%, and that share has been increasing

over the last several years.    Today, there is no supplier of high-performance

electronic trading systems that is able to sell more than a small fraction of what

Nasdaq is able to sell.

      286. Other high-performance electronic trading systems suppliers whose

products can support significant, high-volume exchanges include the London Stock

Exchange (“LSE”), Euronext and Deutsche Borsa. Notably, however, both LSE and



                                        - 92 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 93 of 116 PageID #: 93




Euronext are retreating from this market, due in part to the challenges of successfully

selling their products in the face of Nasdaq’s dominant position and predatory

conduct. Other suppliers do not offer the level of performance that high-volume

exchanges demand. Accordingly, there remain today virtually no suppliers in the

market with the ability and will to challenge Nasdaq’s dominant position.

      287. Nasdaq’s monopoly power is also demonstrated by its success in

excluding rivals, such as MIAX and others, from the market for high-performance

electronic trading systems, and in causing previously successful competitors LSE

and Euronext to begin to withdraw from the market.

      288. There are significant barriers to entry in high-performance electronic

trading systems for high-volume exchanges. The development of such highly-

complex products requires specialized expertise and significant capital. In many

countries, products must be approved by the local securities regulators before they

can be used in that country. Moreover, because a trading system failure would shut

down an exchange, high-performance trading system customers demand extremely

high levels of performance and reliability, and successful entrants must both be able

to demonstrate the high performance levels of their products, and have developed

the reputation to earn the trust of those customers and of regulators.




                                        - 93 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 94 of 116 PageID #: 94




      289. Nasdaq’s large and durable market share, its ability to exclude and drive

rivals from the market and the significant barriers to entry in high-performance

electronic trading systems demonstrate Nasdaq’s monopoly power in the market.

      290. Nasdaq also has monopoly power in the relevant global submarket for

the sale and leasing of high-performance electronic trading systems, where its

market share is even higher than it is in the primary market, where it has

demonstrated the same ability to exclude its competitors, and where the barriers to

entry are just as high.

                           The Relevant Bid Submarkets

      291. Nasdaq has also dominated mutiple relevant bid submarkets for many

years. With respect to each individual bid market in which it was successful in

selling its high-performance electronic trading system, Nasdaq has monopoly power,

which it obtained through the range of exclusionary conduct alleged herein.

                          The Relevant Technology Market

      292. Nasdaq also has monopoly power in the relevant technology market of

the licensing of the technology used in high-performance matching engines. On

information and belief, Nasdaq’s market share in the technology market is at least

70%. Nasdaq has also demonstrated its monopoly power in the technology market

through its ability to exclude competitors from the market.




                                       - 94 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 95 of 116 PageID #: 95




      293. In particular, Nasdaq’s monopoly power in the relevant technology

market arises from and is reflected in the fact that it has been able to fend off

competition even from a competitor that offers demonstrably superior technology

that would allow customers to execute trade matches at much higher speeds with

much greater accuracy, and to do so at significantly lower costs than customers using

Nasdaq’s plainly inferior technology.

      294.   Indeed, because Nasdaq has succeeded in foreclosing the competitor

with superior technology to Nasdaq’s from both the relevant product markets and

the technology markets, and because of Nasdaq’s predatory conduct directed at all

competitors, there is no participant in the market today with the ability to dislodge

Nasdaq from its monopoly position in any of the relevant markets.

      295. There are significant barriers to entry in the relevant market of the

licensing of the technology used in high-performance matching engines. The

development of such highly-complex products requires specialized expertise and

significant capital. In many countries, products must be approved by the local

securities regulators before they can be used in that country. Moreover, because a

trading system failure would shut down an exchange, high-performance matching

engine customers demand extremely high levels of performance and reliability, and

successful entrants must both be able to demonstrate the high performance levels of




                                        - 95 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 96 of 116 PageID #: 96




their products, and have developed the reputation to earn the trust of those customers

and of regulators.

               NASDAQ HAS MARKET POWER IN THE
          ALLEGED RELEVANT MARKETS AND SUBMARKETS
      296. In the alternative, Nasdaq has market power in the relevant primary

market, the relevant submarkets, and the relevant technology market, as reflected by

its market share in each such market, its ability to exclude rivals from those markets,

and the high barriers to entry faced by any company attempting to enter each such

market.

              NASDAQ’S CONDUCT HAS CAUSED INJURY
            TO COMPETITION IN THE RELEVANT MARKETS

      297. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      298. Nasdaq’s exclusionary conduct has harmed competition. Through

objectively baseless litigation and other predatory conduct, Nasdaq has foreclosed

MIAX and other suppliers of electronic trading system from the market. Nasdaq’s

conduct has denied customers the ability to purchase products that would have

provided superior levels of performance relative to Nasdaq’s, and has raised both

market prices and operating costs above competitive levels.

      299. MIAX’s actual injuries flow directly from these unlawful aspects of

Nasdaq’s acts and is the type of injury that the antitrust laws were intended to



                                        - 96 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 97 of 116 PageID #: 97




prevent. MIAX is therefore entitled to recover its damages under Section 4 of the

Clayton Act (15 U.S.C. § 15).

                             CLAIMS FOR RELIEF

                                     COUNT I

                Section 2 of the Sherman Act (15 U.S.C. § 2) and
             Clayton Act Sections 4 and 16 (15 U.S.C. §§ 15 and 26)
                        Monopolization – Walker Process
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)
      300. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      301. Nasdaq has monopoly power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial

exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.

      302. Nasdaq secured U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506,

6,618,707 and 7,246,093 through knowing and willful fraud upon the PTO, then

maintained and enforced these patents despite knowing of the fraud.

      303. Defendants further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also misrepresenting the scope of those

claims against MIAX. Defendants presented overly broad and misleading claims

constructions in the Nasdaq Lawsuit that are contrary to the statements that

                                        - 97 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 98 of 116 PageID #: 98




Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.

         304. Nasdaq has willfully maintained and abused its monopoly power in the

relevant markets and submarkets through its knowing and willful fraud upon the

USPTO, and its maintenance and enforcement of its patents despite knowing of the

fraud.

         305. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

         306. Nasdaq’s anticompetitive and exclusionary conduct violates Section 2

of the Sherman Act, 15 U.S.C. § 2.

                                      COUNT II

                  Section 2 of the Sherman Act (15 U.S.C. § 2) and
               Clayton Act Sections 4 and 16 (15 U.S.C. §§ 15 and 26)
                    Attempted Monopolization – Walker Process
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)

         307. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

         308. Nasdaq has market power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial



                                         - 98 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 99 of 116 PageID #: 99




exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.

      309. Nasdaq secured U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506,

6,618,707 and 7,246,093 through knowing and willful fraud upon the USPTO, then

maintained and enforced these patents despite knowing of the fraud.

      310. Defendants further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also misrepresenting the scope of those

claims against MIAX. Defendants presented overly broad and misleading claims

constructions in the Nasdaq Lawsuit, that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.

      311. Nasdaq’s knowing and willful fraud upon the USPTO, as well as its

maintenance and enforcement of the subject patents, and other conduct undertaken

for the purpose of excluding competitors from the relevant markets, demonstrates

that Nasdaq engaged in such conduct with the specific intent of monopolizing the

relevant markets and submarket.

      312. There is a dangerous probability that Nasdaq will succeed in its scheme

to monopolize the relevant markets and submarket. Nasdaq already has a dominant

share of the relevant markets and submarkets, and it has won a dominant share of all

procurements worldwide for electronic trading systems over the last several years.



                                       - 99 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 100 of 116 PageID #: 100




Due to the superior performance of its technology, MIAX posed the greatest threat

to Nasdaq’s dominant position, but Nasdaq has succeeded in foreclosing them, and

perhaps others, from the relevant market through its exclusionary scheme, thereby

foreclosing others from competing for a substantial share of the relevant markets and

submarket.

      313. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

      314. Nasdaq’s anticompetitive and exclusionary conduct violates Section 2

of the Sherman Act, 15 U.S.C. § 2.

                                     COUNT III

                Section 2 of the Sherman Act (15 U.S.C. § 2) and
             Clayton Act Sections 4 and 16 (15 U.S.C. §§ 15 and 26)
                        Monopolization – Sham Litigation
                        and Other Exclusionary Conduct
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)
      315. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      316. Nasdaq has monopoly power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial




                                       - 100 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 101 of 116 PageID #: 101




exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.

      317. Nasdaq’s patent lawsuit against MIAX is predicated upon patents

procured through fraud and is objectively baseless, and no reasonable litigant could

realistically expect success on the merits.

      318. Defendants further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also by misrepresenting the scope of

those claims against MIAX. Defendants presented overly broad and misleading

claims constructions in Nasdaq Lawsuit that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.

      319. Nasdaq filed and has continued litigation of its baseless lawsuit to

interfere directly with MIAX’s business relationships. It was filed and is maintained

for the purpose of foreclosing MIAX from the relevant markets and submarket and,

thereby, shield its monopoly position from the competitive threat posed by a nascent

competitor with superior technology. Nasdaq is using the litigation process – as

opposed to the outcome of that process – as an anticompetitive weapon.

      320. Nasdaq engaged in other conduct as part of its scheme to foreclose

competitors from the market and shield its monopoly position from competitive

threats, including:



                                        - 101 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 102 of 116 PageID #: 102




      a.     Filing sham litigation claims against another recent market
             entrant, IEX, that threatened Nasdaq’s monopoly power;

      b.     Threating yet other suppliers with baseless patent infringement
             litigation;

      c.     Attempting to persuade the Securities and Exchange
             Commission to reject the registration application of MIAX and
             other registration applicants on baseless grounds in an effort to
             exclude them from the market;

      d.     Disparaging MIAX’s products to potential customers by falsely
             representing to them that MIAX “stole” Nasdaq’s trading
             matching engine technology; and

      e.     Offering to potential customers a bundle of products, services
             and licenses, including electronic trading systems, under
             financial terms that were intended to and had the effect of
             protecting its monopoly position in electronic trading systems by
             foreclosing competitors who were unable to offer a similar
             bundle of products, and/or cannot profitably sell electronic
             trading systems at prices that are competitive to the prices at
             which customers are able to purchase electronic trade systems as
             part of a discounted bundle of products offered by Nasdaq.

      321. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

      322. Nasdaq’s anticompetitive and exclusionary conduct violates Section 2

of the Sherman Act, 15 U.S.C. § 2.




                                       - 102 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 103 of 116 PageID #: 103




                                     COUNT IV

                Section 2 of the Sherman Act (15 U.S.C. § 2) and
             Clayton Act Sections 4 and 16 (15 U.S.C. §§ 15 and 26)
                  Attempted Monopolization – Sham Litigation
                       and Other Exclusionary Conduct
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)

      323. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      324. Nasdaq has market power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial

exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.

      325. Nasdaq’s patent lawsuit against MIAX is predicated upon patents

procured through fraud and is objectively baseless, and no reasonable litigant could

realistically expect success on the merits.

      326. Nasdaq further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also misrepresenting the scope of those

claims against MIAX. Defendants presented overly broad and misleading claims

constructions in the Nasdaq Lawsuit that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.


                                        - 103 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 104 of 116 PageID #: 104




      327. Nasdaq filed and has continued litigation of its baseless lawsuit to

interfere directly with MIAX’s business relationships. It was filed and is maintained

for the purpose of foreclosing MIAX from the relevant markets and submarket and,

thereby, shield its monopoly position from the competitive threat posed by a nascent

competitor with superior technology. Nasdaq is using the litigation process – as

opposed to the outcome of that process – as an anticompetitive weapon.

      328. Nasdaq engaged in other conduct as part of its scheme to foreclose

competitors from the market and shield its monopoly position from competitive

threats, including:

      a.      Filing sham litigation claims against another recent market
              entrant, IEX, that threatened Nasdaq’s monopoly power;

      b.      Threating yet other suppliers with baseless patent infringement
              litigation;

      c.      Attempting to persuade the Securities and Exchange
              Commission to reject the registration application of MIAX and
              other registration applicants on baseless grounds in an effort to
              exclude them from the market;

      d.      Disparaging MIAX’s products to potential customers by falsely
              representing to them that MIAX “stole” Nasdaq’s trading
              matching engine technology; and

      e.      Offering to potential customers a bundle of products, services
              and licenses, including electronic trading systems, under
              financial terms that were intended to enable it to unlawfully
              obtain a monopoly position in electronic trading systems by
              foreclosing competitors who were unable to offer a similar
              bundle of products, and/or cannot profitably sell electronic
              trading systems at prices that are competitive to the prices at



                                       - 104 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 105 of 116 PageID #: 105




             which customers are able to purchase electronic trade systems
             as part of a discounted bundle of products offered by Nasdaq.

      329. Nasdaq engaged in such contact with the specific intent of

monopolizing the relevant markets alleged herein.

      330. By doing so, Nasdaq’s conduct reduced output in the relevant markets

and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

      331. There is a dangerous probability that Nasdaq will succeed in its scheme

to monopolize the relevant markets and submarket. Nasdaq already has a dominant

share of the relevant markets and submarket, and it has won a dominant share of all

procurements worldwide for electronic trading systems over the last several years.

MIAX and the other competitors that were the target of its predatory campaign posed

the greatest threat to Nasdaq’s dominant position, but Nasdaq has succeeded in

foreclosing them, and perhaps others, from the relevant markets and submarket

through its exclusionary scheme, thereby foreclosing others from competing for a

substantial share of the relevant markets and submarket.

      332. Nasdaq’s anticompetitive and exclusionary conduct violates Section 2

of the Sherman Act, 15 U.S.C. § 2.




                                      - 105 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 106 of 116 PageID #: 106




                                     COUNT V

                             New Jersey Antitrust Act
                            N.J. Rev. Stat § 56:9-1 to 19
                     Monopolization – Walker Process Claim
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)

      333. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      334. Nasdaq has monopoly power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial

exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.

      335. Nasdaq secured U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506,

6,618,707 and 7,246,093 through knowing and willful fraud upon the PTO, then

maintained and enforced these patents despite knowing of the fraud.

      336. Defendants further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also misrepresenting the scope of those

claims against MIAX. Defendants presented overly broad and misleading claims

constructions in the Nasdaq Lawsuit, that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.



                                       - 106 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 107 of 116 PageID #: 107




         337. Nasdaq has willfully maintained and abused its monopoly power in the

relevant markets and submarket through its knowing and willful fraud upon the

USPTO, and its maintenance and enforcement of its patents despite knowing of the

fraud.

         338. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

         339. Nasdaq’s anticompetitive and exclusionary conduct violates the New

Jersey Antitrust Act, N.J. Rev. Stat § 56:9-1 to 19.

                                      COUNT VI

                              New Jersey Antitrust Act
                             N.J. Rev. Stat § 56:9-1 to 19
                Attempted Monopolization – Walker Process Claim
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)
         340. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

         341. Nasdaq has market power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial

exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.



                                        - 107 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 108 of 116 PageID #: 108




      342. Nasdaq secured U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506,

6,618,707 and 7,246,093 through knowing and willful fraud upon the USPTO, then

maintained and enforced these patents despite knowing of the fraud.

      343. Nasdaq further misused their patent rights by knowingly asserting

invalid and unenforceable patent claims, and also misrepresenting the scope of those

claims against MIAX. Defendants presented overly broad and misleading claims

constructions in the Nasdaq Lawsuit that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.

      344. Nasdaq’s knowing and willful fraud upon the USPTO, as well as its

maintenance and enforcement of the subject patents, and other conduct undertaken

for the purpose of excluding competitors from the relevant markets, demonstrates

that Nasdaq engaged in such conduct with the specific intent of monopolizing the

relevant markets and submarket.

      345. There is a dangerous probability that Nasdaq will succeed in its scheme

to monopolize the relevant markets and submarket. Nasdaq already has a dominant

share of the relevant markets and submarkets, and it has won a dominant share of all

procurements worldwide for electronic trading systems over the last several years.

Due to the superior performance of its technology, MIAX posed the greatest threat

to Nasdaq’s dominant position, but Nasdaq has succeeded in foreclosing them, and



                                      - 108 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 109 of 116 PageID #: 109




perhaps others, from the relevant market through its exclusionary scheme, thereby

foreclosing others from competing for a substantial share of the relevant markets and

submarket.

      346. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

      347. Nasdaq’s anticompetitive and exclusionary conduct violates the New

Jersey Antitrust Act, N.J. Rev. Stat § 56:9-1 to 19.

                                    COUNT VII

                            New Jersey Antitrust Act
                           N.J. Rev. Stat § 56:9-1 to 19
                     Monopolization – Sham Litigation and
                        Other Exclusionary Conduct
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)

      348.    Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      349. Nasdaq has monopoly power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial

exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.




                                       - 109 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 110 of 116 PageID #: 110




      350. Nasdaq’s patent lawsuit against MIAX is predicated upon patents

procured through fraud and is objectively baseless, and no reasonable litigant could

realistically expect success on the merits.

      351. Nasdaq further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also by misrepresenting the scope of

those claims against MIAX. Defendants presented overly broad and misleading

claims constructions in the Nasdaq Lawsuit, that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.

      352. Nasdaq filed and has continued litigation of its baseless lawsuit to

interfere directly with MIAX’s business relationships. It was filed and is maintained

for the purpose of foreclosing MIAX from the relevant markets and submarket and,

thereby, shield its monopoly position from the competitive threat posed by a nascent

competitor with superior technology. Nasdaq is using the litigation process – as

opposed to the outcome of that process – as an anticompetitive weapon.

      353. Nasdaq engaged in other conduct as part of its scheme to foreclose

competitors from the market and shield its monopoly position from competitive

threats, including:

      a.     Filing sham litigation claims against another recent market
             entrant, IEX, that threatened Nasdaq’s monopoly power;




                                        - 110 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 111 of 116 PageID #: 111




      b.     Threating yet other suppliers with baseless patent infringement
             litigation;

      c.     Attempting to persuade the Securities and Exchange
             Commission to reject the registration application of MIAX and
             other registration applicants on baseless grounds in an effort to
             exclude them from the market;

      d.     Disparaging MIAX’s products to potential customers by falsely
             representing to them that MIAX “stole” Nasdaq’s trading
             matching engine technology; and

      e.     Offering to potential customers a bundle of products, services
             and licenses, including electronic trading systems, under
             financial terms that were intended to and had the effect of
             protecting its monopoly position in electronic trading systems by
             foreclosing competitors who were unable to offer a similar
             bundle of products, and/or cannot profitably sell electronic
             trading systems at prices that are competitive to the prices at
             which customers are able to purchase electronic trade systems as
             part of a discounted bundle of products offered by Nasdaq.

      354. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

      355. Nasdaq’s anticompetitive and exclusionary conduct violates the New

Jersey Antitrust Act, N.J. Rev. Stat § 56:9-1 to 19.




                                       - 111 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 112 of 116 PageID #: 112




                                     COUNT VIII

                             New Jersey Antitrust Act
                            N.J. Rev. Stat § 56:9-1 to 19
                  Attempted Monopolization – Sham Litigation
                       and Other Exclusionary Conduct
  (U.S. Patent Nos. 7,921,051, 7,933,827, 7,747,506, 6,618,707 and 7,246,093)

      356. Plaintiffs hereby re-allege and incorporate by reference the allegations

contained in the preceding paragraphs as if fully set forth herein.

      357. Nasdaq has market power in the global market for high-performance

electronic trading systems, in the global submarket for the sale and leasing of high-

performance electronic trading systems, in the individual bid markets with financial

exchange customers, and in the global technology market for the licensed technology

used in high-performance matching engines.

      358. Nasdaq’s patent lawsuit against MIAX is predicated upon patents

procured through fraud and is objectively baseless, and no reasonable litigant could

realistically expect success on the merits.

      359. Nasdaq further misused their patents rights by knowingly asserting

invalid and unenforceable patent claims, and also misrepresenting the scope of those

claims against MIAX. Defendants presented overly broad and misleading claims

constructions in the Nasdaq Lawsuit, that are contrary to the statements that

Defendants made to the USPTO during the CBMR proceedings in order to avoid

invalidity, albeit unsuccessfully.


                                        - 112 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 113 of 116 PageID #: 113




      360. Nasdaq filed and has continued litigation of its baseless lawsuit to

interfere directly with MIAX’s business relationships. It was filed and is maintained

for the purpose of foreclosing MIAX from the relevant markets and submarket and,

thereby, shield its monopoly position from the competitive threat posed by a nascent

competitor with superior technology. Nasdaq is using the litigation process – as

opposed to the outcome of that process – as an anticompetitive weapon.

      361. Nasdaq engaged in other conduct as part of its scheme to foreclose

competitors from the market and shield its monopoly position from competitive

threats, including:

      a.     Filing sham litigation claims against another recent market
             entrant, IEX, that threatened Nasdaq’s monopoly power;

      b.     Threating yet other suppliers with baseless patent infringement
             litigation;

      c.     Attempting to persuade the Securities and Exchange
             Commission to reject the registration application of MIAX and
             other registration applicants on baseless grounds in yet another a
             transparent effort to exclude them from the market;

      d.     Disparaging MIAX’s products to potential customers by falsely
             representing to them that MIAX “stole” Nasdaq’s trading
             matching engine technology; and

      e.     Offering to potential customers a bundle of products, services
             and licenses, including electronic trading systems, under
             financial terms that were intended to enable it to unlawfully
             obtain a monopoly position in electronic trading systems by
             foreclosing competitors who were unable to offer a similar
             bundle of products, and/or cannot profitably sell electronic
             trading systems at prices that are competitive to the prices at



                                       - 113 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 114 of 116 PageID #: 114




             which customers are able to purchase electronic trade systems as
             part of a discounted bundle of products offered by Nasdaq.

      362. Nasdaq engaged in such contact with the specific intent of

monopolizing the relevant markets alleged herein.

      363. By engaging in such conduct, Nasdaq reduced output in the relevant

markets and submarket, and raised prices above competitive levels, to the substantial

detriment of competition and consumers.

      364. There is a dangerous probability that Nasdaq will succeed in its scheme

to monopolize the relevant markets and submarket. Nasdaq already has a dominant

share of the relevant markets and submarket, and it has won a dominant share of all

procurements worldwide for electronic trading systems over the last several years.

MIAX and the other competitors that were the target of its predatory campaign posed

the greatest threat to Nasdaq’s dominant position, but Nasdaq has succeeded in

foreclosing them, and perhaps others, from the relevant markets and submarket

through its exclusionary scheme, thereby foreclosing others from competing for a

substantial share of the relevant markets and submarket.

      365. Nasdaq’s anticompetitive and exclusionary conduct violates the New

Jersey Antitrust Act, N.J. Rev. Stat § 56:9-1 to 19.

                             PRAYER FOR RELIEF

      WHEREFORE, MIAX prays for judgment in its favor against Nasdaq

granting MIAX the following relief:


                                       - 114 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 115 of 116 PageID #: 115




      A.     That the Court determine that Nasdaq acted unlawfully to maintain

and/or to obtain monopolies in the relevant markets and submarkets by engaging in

acts of patent misuse, sham litigation, and other predatory conduct as alleged herein,

in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, and that each of these

violations have injured Plaintiffs’ businesses and property, as well as competition

itself in the relevant markets.

      B.     That the Court determine that Plaintiffs have been injured in their

property and business and that Plaintiffs will continue to be irreparably damaged in

their property and business by the aforesaid anticompetitive and monopolistic

conduct unless enjoined by this Court.

      C.     That the Court award Plaintiffs compensatory damages, trebled as

provided in the Sherman and Clayton Acts, plus such injunctive other relief as may

be just and equitable.

      D.     That this Court award MIAX its reasonable attorneys’ fees, expenses

and costs in this action and CBMR proceedings.

      E.     That this Court grant MIAX such other and further relief as this Court

may deem just and proper.

                                  JURY DEMAND

      MIAX demands a trial by jury on all claims and issues so triable.




                                         - 115 -
Case 1:21-cv-01254-UNA Document 1 Filed 08/31/21 Page 116 of 116 PageID #: 116




 Dated: August 31, 2021                  REED SMITH LLP

 OF COUNSEL:                             /s/ R. Eric Hutz
                                         Brian M. Rostocki (No. 4599)
 Lisa A. Chiarini                        R. Eric Hutz (No. 2702)
 REED SMITH LLP                          1201 N. Market Street, Suite 1500
 506 Carnegie Center, Suite 300          Wilmington, DE 19801
 Princeton, NJ 08540                     (302) 778-7500
 (609) 987-0500                          brostocki@reedsmith.com
 lchiarini@reedsmith.com                 ehutz@reedsmith.com

 Edward B. Schwartz                      Attorneys for Plaintiffs
 REED SMITH LLP
 1301 K Street, N.W.
 Suite 1000, East Tower
 Washington, DC 20005-3317
 (202) 414-9200
 eschwartz@reedsmith.com

 Brian D. Roche
 REED SMITH LLP
 10 South Wacker Drive, 40th Floor
 Chicago, IL 60606-7507
 (312) 207-1000
 broche@reedsmith.com




                                     - 116 -
